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                              Exhibit H
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


NATIONAL ASSOCIATION FOR GUN
RIGHTS, and SUSAN KAREN GOLDMAN,
                                       No. 1:22-cv-04774
                Plaintiffs,

     v.
                                       Honorable Harry D. Leinenweber
CITY OF HIGHLAND PARK, ILLINOIS,
                                       Honorable Jeffrey T. Gilbert
                Defendant.




                   DECLARATION OF RANDOLPH ROTH
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                          DECLARATION OF RANDOLPH ROTH

        I, Randolph Roth, declare under penalty of perjury that the following is true and correct:

        1.     I am an Arts and Sciences Distinguished Professor of History and Sociology at

The Ohio State University. I have personal knowledge of the facts set forth in this declaration,

and if called upon as a witness, I could and would testify competently as to those facts.

        2.     I have been retained by the City of Highland Park, Illinois to render expert

opinions in this case. I am being compensated at a rate of $250 per hour.

                          BACKGROUND AND QUALIFICATIONS

        3.     I received a B.A. in History with Honors and Distinction in 1973 from Stanford

University, where I received the James Birdsall Weter Prize for the outstanding honors thesis in

History. I received a Ph.D. in History in 1981 from Yale University, where I received the

Theron Rockwell Field Prize for the outstanding dissertation in the humanities and the George

Washington Eggleston Prize for the outstanding dissertation in American history. I have taught

courses in history, the social sciences, and statistics since 1978, with a focus on criminology and

the history of crime. A true and correct copy of my curriculum vitae is attached as Exhibit A to

this declaration.

        4.     I am the author of American Homicide (The Belknap Press of the Harvard

University Press, 2009), which received the 2011 Michael J. Hindelang Award from the

American Society of Criminology awarded annually for the book published over the three

previous years that “makes the most outstanding contribution to research in criminology over the

previous three years,”1 and the 2010 Allan Sharlin Memorial Book Award from the Social



1
  See American Society of Criminology, Michel J. Hindelang outstanding Book Award
Recipients, https://asc41.com/about-asc/awards/michael-j-hindelang-outstanding-book-award-
recipients/.
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Science History Association for outstanding books in social science history.2 American

Homicide was also named one of the Outstanding Academic Books of 2010 by Choice, and the

outstanding book of 2009 by reason.com. The book is an interregional, internationally

comparative study of homicide in the United States from colonial times to the present. I am a

Fellow of the American Association for the Advancement of Science, and I have served as a

member of the National Academy of Sciences Roundtable on Crime Trends, 2013-2016, and as a

member of the Editorial Board of the American Historical Review, the most influential journal in

the discipline. And in 2022 I received the inaugural Distinguished Scholar Award from the

Historical Criminology Division of the American Society of Criminology.

        5.     I am the principal investigator on the National Homicide Data Improvement

Project, a project funded by the National Science Foundation (SES-1228406,

https://www.nsf.gov/awardsearch/showAward?AWD_ID=1228406) and the Harry Frank

Guggenheim Foundation to improve the quality of homicide data in the United States from 1959

to the present. The pilot project on Ohio has drawn on a wide range of sources in its effort to

create a comprehensive database on homicides (including narratives of each incident) based on

the mortality statistics of the Ohio Department of Health, the confidential compressed mortality

files of the National Center for Health Statistics, the F.B.I.’s Supplementary Homicide Reports,

death certificates, coroner’s reports, the homicide case files of Cincinnati, Cleveland, and

Columbus, obituaries, and newspaper accounts.

        6.     I have published numerous essays on the history of violence and the use of

firearms in the United States, including a) “Guns, Gun Culture, and Homicide: The Relationship




2
 See Social Science History Association, Allan Sharlin Memorial Book Award,
https://ssha.org/awards/sharlin_award/.
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between Firearms, the Uses of Firearms, and Interpersonal Violence in Early America,” William

and Mary Quarterly (2002) 59: 223-240 (https://www.jstor.org/stable/3491655#metadata_

info_tab_contents); b) “Counting Guns: What Social Science Historians Know and Could Learn

about Gun Ownership, Gun Culture, and Gun Violence in the United States,” Social Science

History (2002) 26: 699-708 (https://www.jstor.org/stable/40267796#metadata_info_tab_

contents); c) “Why Guns Are and Aren’t the Problem: The Relationship between Guns and

Homicide in American History,” in Jennifer Tucker, Barton C. Hacker, and Margaret Vining,

eds., A Right to Bear Arms? The Contested Role of History in Contemporary Debates on the

Second Amendment (Washington, D.C.: Smithsonian Institution Scholarly Press, 2019); and d)

“The Opioid Epidemic and Homicide in the United States,” co-authored with Richard Rosenfeld

and Joel Wallman, in the Journal of Research in Crime and Delinquency (2021) (https://www

.researchgate.net/publication/348513393_The_Opioid_Epidemic_and_Homicide_in_the_United

_States).

       7.      I am also co-founder and co-director of the Historical Violence Database. The

web address for the Historical Violence Database is: http://cjrc.osu.edu/research/interdisciplinary

/hvd. The historical data on which this declaration draws are available through the Historical

Violence Database. The Historical Violence Database is a collaborative project by scholars in

the United States, Canada, and Europe to gather data on the history of violent crime and violent

death (homicides, suicides, accidents, and casualties of war) from medieval times to the present.

The project is described in Randolph Roth et al., “The Historical Violence Database: A

Collaborative Research Project on the History of Violent Crime and Violent Death.” Historical

Methods (2008) 41: 81-98 (https://www.tandfonline.com/doi/pdf/10.3200/HMTS.41.2.81-

98?casa_token=PfjkfMsciOwAAAAA:1HrNKToUGfQT4T-L4wqloRc2DFsM4eRmKEc



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346vchboaSh-X29CkEdqIe8bMoZjBNdk7yNh_aAU). The only way to obtain reliable historical

homicide estimates is to review every scrap of paper on criminal matters in every courthouse

(indictments, docket books, case files, and judicial proceedings), every jail roll and coroner’s

report, every diary and memoir, every article in every issue of a number of local newspapers,

every entry in the vital records, and every local history based on lost sources, local tradition, or

oral testimony. That is why it takes months to study a single rural county, and years to study a

single city.3

        8.      My work on data collection and my research for American Homicide, together

with the research I have conducted for related essays, has helped me gain expertise on the causes

of homicide and mass violence, and on the role technology has played in changing the nature and

incidence of homicide and mass violence. I hasten to add that the insights that my colleagues

and I have gained as social science historians into the causes of violence and the history of

violence in the United States stem from our tireless commitment to empiricism. Our goal is to



3
  It is also essential, in the opinion of historians and historical social scientists involved in the
Historical Violence Database, to use capture-recapture mathematics, when multiple sources are
available, to estimate the number of homicides where gaps or omissions exist in the historical
record. The method estimates the percentage of the likely number of homicides that appear in the
surviving records by looking at the degree to which homicides reported in the surviving legal
sources overlap with homicides reported in the surviving non-legal sources (newspapers, vital
records, diaries, etc.). A greater degree of overlap means a higher percentage in the surviving
records and a tighter confidence interval. A lesser degree of overlap, which typically occurs on
contested frontiers and during civil wars and revolutions, means a lower percentage and a wider
confidence interval. See Randolph Roth, “American Homicide Supplemental Volume: Homicide
Estimates” (2009) (https://cjrc.osu.edu/sites/cjrc.osu.edu/files/AHSV-Homicide-Estimates.pdf);
Roth, "Child Murder in New England," Social Science History (2001) 25: 101-147
(https://www.jstor.org/stable/1171584#metadata_info_tab_contents); Roth and James M.
Denham, “Homicide in Florida, 1821-1861: A Quantitative Analysis,” Florida Historical
Quarterly 86 (2007): 216-239; and Douglas L. Eckberg, "Stalking the Elusive Homicide: A
Capture-Recapture Approach to the Estimation of Post-Reconstruction South Carolina Killings."
Social Science History 25 (2001): 67-91 (https://www.jstor.org/stable/1171582#metadata
_info_tab_contents).


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gather accurate data on the character and incidence of violent crimes and to follow the evidence

wherever it leads, even when it forces us to accept the fact that a hypothesis we thought might be

true proved false. As my colleagues and I are fond of saying in the Criminal Justice Network of

the Social Science History Association, the goal is not to be right, but to get it right. That is the

only way to design effective, pragmatic, nonideological laws and public policies that can help us

address our nation’s problem of violence.

       9.      I have previously served as an expert witness in cases concerning the

constitutionality of state and municipal gun laws, including Miller v. Bonta, No. 3:19-cv-1537

(S.D. Cal.), Duncan v. Bonta, No. 3:17-cv-1017 (S.D. Cal.), Ocean State Tactical v. Rhode

Island, No. 22-cv-246 (D.R.I.), and Hanson v. District of Columbia, No. 1:22-cv02256-RC

(D.D.C.).

                                   SUMMARY OF OPINIONS

       10.     I have been asked by the City of Highland Park, Illinois to provide opinions on

the history of homicides and mass murders in the United States, with special attention to the role

that technologies have played in shaping the character and incidence of homicides and mass

murders over time, and the historical restrictions that local and federal authorities have imposed

in response to new technologies that they deemed particularly lethal, prone to misuse, and a

danger to the public because of the ways in which they reshaped the character and incidence of

homicides and mass murders.

       11.     For the past thirty-five years, I have dedicated my career to understanding why

homicide rates rise and fall over time, in hopes of understanding why the United States—which,

apart from the slave South, was perhaps the least homicidal society in the Western world in the

early nineteenth century—became by far the most homicidal, as it remains today. I discovered



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that the key to low homicide rates over the past 450 years has been successful nation-building.

High homicide rates among unrelated adults—friends, acquaintances, strangers—coincide with

political instability, a loss of trust in government and political leaders, a loss of fellow feeling

among citizens, and a lack of faith in the justice of the social hierarchy.4 As a nation, we are still

feeling the aftershocks of our catastrophic failure at nation-building in the mid- and late-

nineteenth century, from the political crisis of the late 1840s and 1850s through the Civil War,

Reconstruction, and the rise of Jim Crow.

        12.     Our nation’s homicide rate would thus be high today even in the absence of

modern technologies that have made firearms far more capable of injuring multiple people over a

short span of time than they were in colonial and Revolutionary era. But the evidence also

shows that the availability of guns and changes in firearms technology, especially the emergence

of modern breech-loading firearms in the mid-nineteenth century, and of rapid-fire

semiautomatic weapons and extended magazines in the late twentieth century, have pushed the

homicide rate in United States well beyond what it would otherwise have been.

        13.     My opinions will address in turn: 1) firearms restrictions on colonists from the

end of the seventeenth century to the eve of the Revolution, when homicide rates were low

among colonists and firearms were seldom used in homicides among colonists when they did




4
  See Randolph Roth, “Measuring Feelings and Beliefs that May Facilitate (or Deter) Homicide,”
Homicide Studies (2012) 16: 196-217 (https://journals.sagepub.com/doi/pdf/10.1177
/1088767912442501?casa_token=dkP_nZZxCaYAAAAA:vL522E2inh9U2gr4X2qAhPnqRmin
WEjLv8nbwrNEhqNpRliTesFI_1SDY6tepvZbjwiRWPEom7M), for an introduction to the ways
that social science historians can measure the feelings and beliefs that lead to successful nation-
building. My research has shown that those measures have gone up and down with homicide
rates among unrelated adults in the United States from colonial times to the present. In social
science history, as in the non-experimental historical sciences (geology, paleontology,
evolutionary biology), correlations that persist across wide stretches of time and space are not
random. They reveal deep patterns that are causal.
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occur; 2) the development during the Founding and Early National periods of laws restricting the

use or ownership of concealable weapons in slave and frontier states, where homicide rates

among persons of European ancestry soared after the Revolution in large part because of the

increased manufacture and ownership of concealable percussion cap pistols and fighting knives;

3) the spread of restrictions on carrying concealed weapons in every state by World War I, as

homicide rates rose across the nation, beginning around the time of the Mexican War of 1846-

1848 and lasting until World War I—a rise caused in part by the invention of modern revolvers,

which were used in a majority of homicides by the late nineteenth century; 4) the difficulty that

local and federal officials faced from the colonial era into the early twentieth century in

addressing the threat of mass murders, which, because of the limitations of existing technologies,

were carried out by large groups of individuals acting in concert, rather than by individuals or

small groups; and 5) the spread of restrictions in the twentieth and early twenty-first centuries on

new technologies, including rapid-fire firearms and large capacity magazines, that changed the

character of mass murder, by enabling individuals or small groups to commit mass murder.

                                            OPINIONS

I.      GOVERNMENT REGULATION OF FIREARMS IN RESPONSE TO HOMICIDE TRENDS

        A.     Homicide and Firearms in the Colonial Era (1688-1763)

         14.     In the eighteenth century, the use and ownership of firearms by Native Americans

and African Americans, enslaved and free, were heavily regulated. For instance, the first General

Assembly of Virginia passed a law in 1619 which declared that “no man do sell or give any

Indians any piece, shot, or powder, or any other arms offensive or defensive, upon pain of being

held a traitor to the colony and of being hanged as soon as the fact is proved, without all

redemption.” And the province of North Carolina passed a statute in 1723 that made it illegal for



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African Americans, enslaved or free, to possess any firearm or weapon, offensive or defensive.5

But laws restricting the use or ownership of firearms by colonists of European ancestry were less

common, for two reasons. First, homicide rates were low among colonists from the Glorious

Revolution of 1688-1689 through the French and Indian War of 1754-1763, thanks to political

stability, a surge in patriotic fellow feeling within the British empire, and greater trust in

government.6 By the late 1750s and early 1760s, the rates at which adult colonists were killed

were roughly 5 per 100,000 adults per year in Tidewater, Virginia, 3 per 100,000 in

Pennsylvania, and 1 per 100,000 in New England.7 Violence among colonists was not a pressing

problem on the eve of the Revolution.

        15.    Second, the impact of firearms on the homicide rate was modest, even though

household ownership of firearms was widespread. Approximately 50 to 60 percent of households



5
  Robert J. Spitzer, “Gun Law History in the United States and Second Amendment Rights,” Law
and Contemporary Problems 80 (2017): 57-58, available at https://scholarship.law.duke.edu
/cgi/viewcontent.cgi?article=4825&context=lcp; and Alexandra Lanzetta, “The Racist History of
Gun Control Policy and Rhetoric in the United States” (Ph.D. dissertation, University of
Colorado Boulder, 2021), 10-13, available at file:///C:/Users/roth.5/Downloads/The_Racist_
History_of_Gun_Control_Policy_and_Rhetoric_in_the_United_States-_Lanzetta.pdf. See also
Clayton E. Cramer, “Colonial Firearms Regulation” (April 6, 2016), available at
SSRN: https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2759961; and Adam Winkler,
“Racist Guns Laws and the Second Amendment,” Harvard Law Review 135 (June 21, 2022) F
537, available at https://harvardlawreview.org/2022/06/racist-gun-laws-and-the-second-
amendment/.
6
  Randolph Roth, American Homicide (Cambridge: The Belknap Press of Harvard University
Press, 2009), 63, noting that “Fear of Indians and slaves, hatred of the French, enthusiasm for the
new colonial and imperial governments established by the Glorious Revolution, and patriotic
devotion to England drew colonists together. The late seventeenth century thus marks the
discernible beginning of the centuries-long pattern linking homicide rates in America with
political stability, racial, religious, and national solidarity, and faith in government and political
leaders.”
7
  Roth, American Homicide, 61-63, and especially the graphs on 38, 39, and 91. By way of
comparison, the average homicide rate for adults in the United States from 1999 through 2016—
an era in which the quality of emergency services and wound care was vastly superior to that in
the colonial era—was 7 per 100,000 per year. See CDC Wonder Compressed Mortality Files,
ICD-10 (https://wonder.cdc.gov/cmf-icd10.html, accessed December 20, 2022).
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in the colonial and Founding eras owned a working firearm, usually a musket or fowling piece.8

Fowling pieces, like muskets, were muzzle-loading. But unlike muskets, which were heavy,

single-shot firearms used for militia service, fowling pieces were manufactured specifically to

hunt birds and control vermin, so they were designed to fire shot, primarily, rather than ball, and

were of lighter construction than muskets.9 Family, household, and intimate partner homicides

were rare, and only 10 to 15 percent of those homicides were committed with guns. In New

England, the rate of family and intimate partner homicides stood at only 2 per million persons

per year for European Americans and 3 per million for African Americans for the seventeenth

and most of the eighteenth centuries, and fell to 1 per million for both European and African

Americans after the Revolution. The rates in the Chesapeake were likewise low, at 8 per million

per year for European Americans and 4 to 5 per million for African Americans.10 And not only

was the nondomestic homicide rate low, but also the proportion of nondomestic homicides

committed with guns was low—never more than 10 to 15 percent.11

        16.    Firearm use in homicides was generally rare because muzzle-loading firearms, such

as muskets and fowling pieces, had significant limitations as murder weapons in the colonial era.12

They were lethal and accurate enough at short range, but they were liable to misfire, given the




8
  Randolph Roth, “Why Guns Are and Aren’t the Problem: The Relationship between Guns and
Homicide in American History,” in Jennifer Tucker, Barton C. Hacker, and Margaret Vining,
eds., Firearms and the Common Law: History and Memory (Washington, D.C.: Smithsonian
Institution Scholarly Press, 2019), 116; and Roth, “Guns, Gun Culture, and Homicide,” 224-227.
9
  See, e.g., Kevin M. Sweeney, “Firearms, Militias, and the Second Amendment,” in Saul A.
Cornell and Nathan Kozuskanich, eds., The Second Amendment on Trial: Critical Essays on
District of Columbia v. Heller (University of Massachusetts Press, 2013), 310, 327 & nn. 101-
102.
10
   Roth, “Why Guns Are and Aren’t the Problem,” 116; and Roth, American Homicide, 108-109,
and 520 n.3.
11
   Ibid., 116-119.
12
   Ibid., 117.
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limits of flintlock technology; and with the exception of a few double-barreled pistols, they could

not fire multiple shots without reloading.13 They could be used effectively to threaten and

intimidate, but once they were fired (or misfired), they lost their advantage: they could only be

used as clubs in hand-to-hand combat. They had to be reloaded manually to enable the firing of

another shot, which was a time-consuming process that required skill and experience.14 And

more important, muzzle-loading firearms could not be used impulsively unless they were already

loaded for some other purpose.15 It took at least half a minute (and plenty of elbow room) to

load a muzzle-loader if the weapon was clean and if powder, wadding, and shot or ball were at

hand.16 The user had to pour powder down the barrel, hold it in place with wadding, and drop or

ram the shot or ball onto the charge.17 The firing mechanism also had to be readied, often with a

fresh flint.18 And muzzle-loading guns were difficult to keep loaded for any length of time,

because black powder absorbed moisture and could corrode the barrel or firing mechanism or

make the charge liable to misfire.19 The life of a charge could be extended by storing a gun in a

warm, dry place, typically over a fireplace, but even there, moisture from boiling pots, drying

clothes, or humid weather could do damage.20 That is why most owners stored their guns empty,

cleaned them regularly, and loaded them anew before every use.21



13
   Ibid.
14
   Harold L. Peterson, Arms and Armor in Colonial America, 1526-1783 (New York: Bramhall
House, 1956), 155-225; Priya Satia, Empire of Guns: The Violent Making of the Industrial
Revolution (New York: Penguin Press, 2018), 9-10; and Satia, “Who Had Guns in Eighteenth
Century Britain?” in Tucker, Hacker, and Vining, Firearms and the Common Law, 41-44.
15
   Roth, “Why Guns Are and Aren’t the Problem,” 117.
16
   Ibid.
17
   Ibid.
18
   Ibid.
19
   Ibid.
20
   Ibid.
21
   Ibid.; and Herschel C. Logan, Cartridges: A Pictorial Digest of Small Arms Ammunition (New
York: Bonanza Books, 1959), 11-40, 180-183.
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       17.     The infrequent use of guns in homicides in colonial America reflected these

limitations. Family and household homicides—most of which were caused by abuse or fights

between family members that got out of control—were committed almost exclusively with hands

and feet or weapons that were close to hand: whips, sticks, hoes, shovels, axes, or knives.22 It

did not matter whether the type of homicide was rare—like family and intimate homicides—or

common, like murders of servants, slaves, or owners committed during the heyday of indentured

servitude or the early years of racial slavery.23 Guns were not the weapons of choice in

homicides that grew out of the tensions of daily life.24

       18.     When colonists anticipated violence or during times of political instability, gun

use was more common. When homicide rates were high among unrelated adults in the early and

mid-seventeenth century, colonists went armed to political or interpersonal disputes,25 so the

proportion of homicides committed with firearms was at that time 40 percent and rose even

higher in contested areas on the frontier.26 Colonists also armed themselves when they

anticipated hostile encounters with Native Americans, so 60 percent of homicides of Native

Americans by European Americans in New England were committed with firearms.27 And slave

catchers and posses kept their firearms at the ready, so 90 percent of runaway slaves who were

killed in Virginia were shot.28 Otherwise, however, colonists seldom went about with loaded



22
   Roth, “Why Guns Are and Aren’t the Problem,” 117.
23
   Ibid.
24
   Ibid. Contrary to popular belief, dueling was also rare in colonial America. Roth, American
Homicide, 45, 158.
25
   Roth, “Why Guns Are and Aren’t the Problem,” 118-119.
26
   Ibid., 116-117.
27
   Ibid., 118-119 (reporting that “In New England, 57 percent of such homicides were committed
with guns between the end of King Phillip’s War in 1676 and the end of the eighteenth century”).
28
   Ibid., 118 (reporting that “Petitions to the Virginia House of Burgesses for compensation for
outlawed slaves who were killed during attempts to capture them indicate that 90 percent were
shot”).
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guns, except to hunt, control vermin, or muster for militia training.29 That is why firearms had a

modest impact on homicide rates among colonists.

      B.      The Rise in Violence in the South and on Contested Frontiers during the
              Early National Period, the Role of New Technologies and Practices, and
              Regulations on Concealable Weapons (1790s-1840s)

        19.       The Founding Generation was zealous in its defense of the people’s rights, and so

enshrined them in the Constitution. At the same time, they recognized that some citizens could

be irresponsible or motivated by evil intent and could thus threaten the security of the

government and the safety of citizens.30 The threats that such citizens posed to public safety

could be checked in most instances by ordinary criminal statutes, drawn largely from British

common law. But at times those threats could be checked only by statutes that placed limits on

basic rights.31


29
   Ibid., 118-119.
30
   On the fears of the Founders that their republic might collapse because selfish or unscrupulous
citizens might misuse their liberties, see Gordon S. Wood, The Creation of the American
Republic, 1776-1787 (Chapel Hill: University of North Carolina Press, 1969), 65-70, 282-291,
319-328, 413-425, 463-467; Drew R. McCoy, The Last of the Fathers: James Madison and the
Republican Legacy (New York: Cambridge University Press, 1989), 42-45; and Andrew S.
Trees, The Founding Fathers and the Politics of Character (Princeton: Princeton University
Press, 2003), 6-9, 60-65, 86-104, 113-114.
31
   On the Founders’ belief that rights might have to be restricted in certain instances, see Terri
Diane Halperin, The Alien and Sedition Acts: Testing the Constitution (Baltimore: Johns Hopkins
University Press, 2016), 1-8, on restraints on freedom of speech and the press during the
administration of John Adams; Leonard Levy, Jefferson and Civil Liberties: The Darker Side
(Cambridge: The Belknap Press of Harvard University Press, 1963), 93-141, on loosening
restrictions on searches and seizures during the administration of Thomas Jefferson; and Patrick
J. Charles, Armed in America: A History of Gun Rights from Colonial Militias to Concealed
Carry (New York: Prometheus Books, 2018), 70-121, especially 108-109, as well as Saul
Cornell, A Well-Regulated Militia: The Founding Fathers and the Origins of Gun Control in
America (New York: Oxford University Press, 2006), 39-70, and Jack N. Rakove, “The Second
Amendment: The Highest State of Originalism,” in Carl T. Bogus, ed., The Second Amendment
in Law and History: Historians and Constitutional Scholars on the Right to Bear Arms (New
York: The New Press, 2000), 74-116, on the limited scope of the Second Amendment. Jack N.
Rakove, Original Meanings: Politics and Ideas in the Making of the Constitution (New York:
Alfred A. Knopf, 1996), 291, notes that “[n]early all the activities that constituted the realms of
life, liberty, property, and religion were subject to regulation by the state; no obvious landmarks
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       20.     The Founders were aware that the rate at which civilians killed each other or were

killed by roving bands of Tories or Patriots rose during the Revolution.32 And they recognized

that more civilians, expecting trouble with neighbors, public officials, and partisans, were likely

to go about armed, which is why the proportion of homicides of European Americans by

unrelated adults rose to 33 percent in Virginia and 46 percent in New England during the

Revolution.33 But the surge in violence ended in New England, the Mid-Atlantic states, and the

settled Midwest once the Revolutionary crisis was over. In those areas homicide rates fell to

levels in some instances even lower than those which had prevailed in the early and mid-

eighteenth century. By the 1820s, rates had fallen to 3 per 100,000 adults per year in Cleveland

and Philadelphia, to 2 per 100,000 in rural Ohio, and to 0.5 per 100,000 in northern New

England. Only New York City stood out, at 6 per 100,000 adults per year.34 And the proportion




marked the boundaries beyond which its authority could not intrude, if its actions met the
requirements of law.” See also Rakove, “The Second Amendment: The Highest State of
Originalism,” Chicago-Kent Law Review 76 (2000), 157 (https://scholarship.kentlaw.iit.edu/cgi
/viewcontent.cgi?referer=&httpsredir=1&article=3289&context=cklawreview): “[At] the time
when the Second Amendment was adopted, it was still possible to conceive of statements of
rights in quite different terms, as assertions or confirmations of vital principles, rather than the
codification of legally enforceable restrictions or commands.”
32
   Roth, American Homicide, 145-149; Holger Hoock, Scars of Independence: America’s
Violent Birth (New York: Broadway Books / Penguin Random House, 2017), 308-322; Alan
Taylor, Divided Ground: Indians, Settlers, and the Northern Borderland of the American
Revolution (New York: Knopf, 2006), 91-102; George C. Daughan, Revolution on the Hudson:
New York City and the Hudson River Valley in the American War for Independence (New
York: W. W. Norton, 2016), 137-138; John B. Frantz and William Pencak, eds., Beyond
Philadelphia: The American Revolution in the Pennsylvania Hinterland (University Park:
Pennsylvania State University Press, 1998), 42-43, 141-145, 149-152; Francis S. Fox, Sweet
Land of Liberty: the Ordeal of the American Revolution in Northampton County, Pennsylvania
(University Park: Pennsylvania State University Press, 2000), 25-27, 32, 64-65, 91-92, 114; and
Fox Butterfield, All God’s Children: The Bosket Family and the American Tradition of Violence
(New York: Vintage, 1996), 3-18.
33
   Roth, “Why Guns Are and Aren’t the Problem,” 119-120.
34
   Roth, American Homicide, 180, 183-186; and Eric H. Monkkonen, Murder in New York City
(Berkeley: University of California Press, 2001), 15-16.
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of domestic and nondomestic homicides committed with firearms was correspondingly low—

between 0 and 10 percent—because people once again generally refrained, as they had from the

Glorious Revolution through the French and Indian War, from going about armed, except to

hunt, control vermin, or serve in the militia.35

       21.     The keys to these low homicide rates and low rates of gun violence in New

England, the Mid-Atlantic states, and the settled Midwest were successful nation-building and

the degree to which the promise of the democratic revolution was realized. Political stability

returned, as did faith in government and a strong sense of patriotic fellow feeling, as the

franchise was extended and political participation increased.36 And self-employment—the

bedrock of citizenship, self-respect, and respect from others—was widespread. By 1815,

roughly 80 percent of women and men owned their own homes and shops or farms by their mid-

thirties; and those who did not were often white-collar professionals who also received respect

from their peers.37 African Americans still faced discrimination and limits on their basic rights

in most Northern states. But despite these barriers, most African Americans in the North were

optimistic, after slavery was abolished in the North, about earning their own living and forming

their own churches and voluntary organizations.38



35
   For detailed figures and tables on weapons use in homicides by state, city, or county, see Roth,
“American Homicide Supplemental Volume: Weapons,” available through the Historical
Violence Database, sponsored by the Criminal Justice Research Center at the Ohio State
University (https://cjrc.osu.edu/sites/cjrc.osu.edu/files/AHSV-Weapons-10-2009.pdf). On
weapons use in homicides in the North, see Figures 25 through 46.
36
   Roth, American Homicide, 180, 183-186.
37
   Ibid., 180, 183-186.
38
   Ibid., 181-182, 195-196; Leon F. Litwack, North of Slavery: The Negro in the Free States,
1790-1860 (Chicago: University of Chicago Press, 1961); Joanne Pope Melish, Disowning
Slavery: Gradual Emancipation and “Race” in New England, 1780-1860 (Ithaca: Cornell
University Press, 1998); Sean White, Somewhat More Independent: The End of Slavery in New
York City, 1780-1810 (Athens: University of Georgia Press, 1991); and Graham R. Hodges,
Root and Branch: African Americans in New York and East Jersey, 1613-1863 (Chapel Hill:
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        22.     That is why there was little interest among public officials in the North in

restricting the use of firearms during the Early National period, except in duels. They took a

strong stand against dueling in the wake of Alexander Hamilton’s death, because of the threat the

practice posed for the nation’s democratic polity and the lives of public men: editors, attorneys,

military officers, and politicians.39

        23.     Laws restricting the everyday use of firearms did appear, however, in the early

national period in a number of slave states,40 where violence among citizens increased after the

Revolution to extremely high levels. Revolutionary ideas and aspirations wreaked havoc on the

status hierarchy of the slave South, where homicide rates ranged from 8 to 28 per 100,000 adults

per year.41 Poor and middle-class whites were increasingly frustrated by their inability to rise in

a society that remained class-bound and hierarchical.42 Prominent whites were subjected to the

rough and tumble of partisan politics and their position in society was threatened by people from

lower social positions.43 African Americans despaired over the failure of the abolition

movement in the South, and whites were more fearful than ever of African American rebellion.44

As a result, impatience with restraint and sensitivity to insult were more intense in the slave

South, and during this period the region saw a dramatic increase in the number of deadly




University of North Carolina Press, 1999).
39
   Joanne B. Freeman, Affairs of Honor: National Politics in the New Republic (New Haven:
Yale University Press, 2001); and C. A. Harwell, “The End of the Affair? Anti-Dueling Laws
and Social Norms in Antebellum America,” Vanderbilt Law Review 54 (2001): 1805-1847
(https://scholarship.law.vanderbilt.edu/cgi/viewcontent.cgi?article=1884&context=vlr).
40
   Clayton E. Cramer, Concealed Weapons Laws of the Early Republic: Dueling, Southern
Violence, and Moral Reform (Westport, Connecticut: Praeger, 1999); and Cornell, Well-
Regulated Militia, 141-144.
41
   Roth, American Homicide, 180, 199-203.
42
   Ibid., 182.
43
   Ibid.
44
   Ibid.
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quarrels, property disputes, duels, and interracial killings.45 The violence spread to frontier

Florida and Texas, as well as to southern Illinois and Indiana—wherever Southerners settled in

the early national period.46 During the Early National period, the proportion of homicides

committed with firearms went up accordingly, to a third or two-fifths, as Southerners armed

themselves in anticipation of trouble, or set out to cause trouble.47

       24.     Citizens and public officials in these states recognized that concealable

weapons—pistols, folding knives, dirk knives, and Bowie knives—were used in an alarming

proportion of the era’s murders and serious assaults.48 They were used to ambush both ordinary

citizens and political rivals, to bully or intimidate law-abiding citizens, and to seize the

advantage in fist fights. As the Grand Jurors of Jasper County, Georgia, stated in a plea to the

state legislature in 1834 for restrictions on concealable weapons,

         The practice which is common amongst us with the young the middle aged and
         the aged to arm themselves with Pistols, dirks knives sticks & spears under the
         specious pretence of protecting themselves against insult, when in fact being so
         armed they frequently insult others with impunity, or if resistance is made the
         pistol dirk or club is immediately resorted to, hence we so often hear of the
         stabbing shooting & murdering so many of our citizens.49

The justices of the Louisiana Supreme Court echoed these sentiments—“unmanly” men carried

concealed weapons to gain “secret advantages” over their adversaries.50




45
   Ibid., 182, 199-203.
46
   Ibid., 162, 180-183, 199-203; Roth and James M. Denham, “Homicide in Florida, 1821-1861,”
Florida Historical Quarterly 86 (2007): 216-239; John Hope Franklin, The Militant South, 1800-
1861 (Cambridge: Belknap Press of Harvard University Press, 1961); and Bertram Wyatt-
Brown, Southern Honor: Ethics and Behavior in the Old South (New York: Oxford University
Press, 1982).
47
   Roth, “American Homicide Supplemental Volume: Weapons,” Figures 51 through 57.
48
   Roth, American Homicide, 218.
49
   Ibid., 218-219. See also the concerns of the Grand Jurors of Wilkes County, Georgia, Superior
Court Minutes, July 1839 term.
50
   Roth, American Homicide, 219.
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       25.     The pistols of the early national period represented a technological advance.

Percussion-lock mechanisms enabled users to extend the life of a charge, because unlike flint-

lock mechanisms, they did not use hydroscopic black powder in their priming pans; they used a

sealed mercury-fulminate cap as a primer and seated it tightly on a small nipple (with an inner

diameter the size of a medium sewing needle) at the rear of the firing chamber, which restricted

the flow of air and moisture to the chamber. Percussion cap pistols, which replaced flint-lock

pistols in domestic markets by the mid-1820s, could thus be kept loaded and carried around for

longer periods without risk of corrosion.51 The new types of knives available in this era also

represented technological advances over ordinary knives because they were designed expressly

for fighting. Dirks and Bowie knives had longer blades than ordinary knives, crossguards to

protect the combatants’ hands, and clip points to make it easier to cut or stab opponents.52

       26.     The violence in the slave South and its borderlands, and the technological

advances that exacerbated it, led to prohibitions against carrying certain concealable weapons,

which appeared in Kentucky, Louisiana, Indiana, Arkansas, Georgia, and Virginia between 1813

and 1838. These laws differed from earlier laws that restricted access to arms by Native

Americans or by free or enslaved African Americans, because they applied broadly to everyone

but also applied more narrowly to certain types of weapons and to certain types of conduct.

Georgia’s 1837 law “against the unwarrantable and too prevalent use of deadly weapons” was

the most restrictive. It made it unlawful for merchants

         and any other person or persons whatsoever, to sell, or offer to sell, or to keep,
         or have about their person or elsewhere . . . Bowie, or any other kind of knives,



51
  Roth, “Why Guns Are and Aren’t the Problem,” 117.
52
  Harold L. Peterson, American Knives: The First History and Collector’s Guide (New York:
Scribner, 1958), 25-70; and Peterson, Daggers and Fighting Knives in the Western World, from
the Stone Age till 1900 (New York: Walker, 1968), 67-80.
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         manufactured or sold for the purpose of wearing, or carrying the same as arms
         of offence or defence, pistols, dirks, sword canes, spears, &c.

The sole exceptions were horseman’s pistols—large weapons that were difficult to conceal and

were favored by travelers. But the laws in the other five states were also strict: they forbid the

carrying of concealable weapons in all circumstances. Indiana made an exemption for

travelers.53 These concealed weapons laws were notably difficult to enforce and did not address

underlying factors that contributed to rising homicide rates. Nevertheless, these laws represent

governmental efforts at that time to address the use of new weapons in certain types of crime.

       27.     Thus, during the lifetimes of Jefferson, Adams, Marshall, and Madison, the

Founding Generation passed laws in a number of states that restricted the use or ownership of

certain types of weapons after it became obvious that those weapons, including certain fighting

knives and percussion-cap pistols, were being used in crime by people who carried them

concealed on their persons and were thus contributing to rising crime rates.54



53
   Cramer, Concealed Weapons Laws, especially 143-152, for the texts of those laws, attached to
this declaration as Exhibit B. Alabama and Tennessee prohibited the concealed carrying of
fighting knives, but not pistols. See also the Duke Center for Firearms Law, Repository of
Historical Gun Laws (https://firearmslaw.duke.edu/search-results/?_sft_subjects=dangerous-or-
unusual-weapons, accessed December 20, 2022). Note that the Georgia Supreme Court, in Nunn
v. State, 1 Ga. 243 (1846), held that prohibiting the concealed carry of certain weapons was
valid, but that the state could not also prohibit open carry, which would destroy the right to bear
arms. That decision put Georgia in line with the five other states that had prohibited the carrying
of concealable firearms.
54
   Cramer, Concealed Weapons Laws, 69-96; Cramer, For the Defense of Themselves and the
State: The Original Intent and Judicial Interpretation of the Right to Keep and Bear Arms
(Westport, Connecticut: Praeger Publishers, 1994); Don B. Kates, Jr., “Toward a History of
Handgun Prohibition in the United States,” in Cates, ed., Restricting Handguns: The Liberal
Skeptics Speak Out (Croton-on-Hudson, New York: North River Press, 1979), 7-30; and Philip
D. Jordan, Frontier Law and Order—10 Essays (Lincoln: University of Nebraska Press, 1970), 1-
22. Thomas Jefferson and John Adams died on July 4, 1826, John Marshall on July 6, 1835, and
James Madison on July 28, 1836. On the history of firearms regulations that pertained to African
Americans, see Robert J. Cottrol and Raymond T. Diamond, “The Second Amendment: Toward
an Afro-Americanist Reconsideration,” Georgetown Law Journal 80 (1991): 309-361
(https://digitalcommons.law.lsu.edu/cgi/viewcontent.cgi?referer=&httpsredir=1&article
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      C.     Homicide, Concealable Weapons, and Concealable Weapons Regulations
             from the Mexican War through the Early Twentieth Century (1846-1920s)

       28.     By the early twentieth century, every state either banned concealed firearms or

placed severe restrictions on their possession.55 They did so in response to two developments:

the nationwide surge in homicide rates, from the North and South to the Trans-Mississippi West;

and the invention of new firearms, especially the revolver, which enabled the firing of multiple

rounds in succession without reloading and made the homicide problem worse. Between the

mid-nineteenth and the early twentieth century homicide rates fell in nearly every Western

nation.56 But in the late 1840s and 1850s those rates exploded across the United States and

spiked even higher during the Civil War and Reconstruction, not only in the South and the

Trans-Mississippi West, where rates had already risen in the early national period, but in the

North. Rates that had ranged in the North in the 1830s and early 1840s from a low of 1 per

100,000 adults per year in northern New England to 6 per 100,000 in New York City, rose to

between 2 and 33 per 100,000 in the northern countryside and to between 10 and 20 per 100,000

in northern cities. In the South, rates in the plantation counties of Georgia rose from 10 per

100,000 adults to 25 per 100,000, and rates soared even higher in rural Louisiana to 90 per



=1283&context=faculty_scholarship); Cottrol and Diamond, “Public Safety and the Right to
Bear Arms” in David J. Bodenhamer and James W. Ely, Jr., eds., The Bill of Rights in Modern
America, revised and expanded (Bloomington: Indiana University Press, 2008), 88-107; and
Cramer, For the Defense of Themselves and the State, 74, 83-85, 97-140.
55
   Kates, “Toward a History of Handgun Prohibition,” 7-30; and Jordan, Frontier Law and
Order, 17-22. These sources identify laws that either banned concealed firearms or placed severe
restrictions on their possession in every state except Vermont. However, Vermont also had such
a law by the early twentieth century. See An Act Against Carrying Concealed Weapons, No. 85,
§ 1 (12th Biennial Session, General Assembly of the State of Vermont, Nov. 19, 1892) (“A
person who shall carry a dangerous or deadly weapon, openly or concealed, with the intent or
avowed purpose of injuring a fellow man, shall, upon conviction thereof, be punished by a fine
not exceeding two hundred dollars, or by imprisonment not exceeding two years, or both, in the
discretion of the court.”).
56
   Roth, American Homicide, 297-300.
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100,000 and in mountain communities in Georgia and Missouri from less than 5 per 100,000

adults per year to 60 per 100,000. And in the West, the rates reached 65 per 100,000 adults per

year in California, 76 per 100,000 in Texas, 119 per 100,000 in mining towns in South Dakota,

Nevada, and Montana, and 155 per 100,000 in cattle towns in Kansas. Americans, especially

men, were more willing to kill friends, acquaintances, and strangers. And so, the United States

became—and remains today—by far the most murderous affluent society in the world.57

       29.     The increase occurred because America’s heretofore largely successful effort at

nation-building failed catastrophically at mid-century.58 As the country struggled through the

wrenching and divisive changes of the mid-nineteenth century—the crises over slavery and

immigration, the decline in self-employment, and rise of industrialized cities—the patriotic faith

in government that most Americans felt so strongly after the Revolution was undermined by

anger and distrust.59 Disillusioned by the course the nation was taking, people felt increasingly

alienated from both their government and their neighbors.60 They were losing the sense that they

were participating in a great adventure with their fellow Americans.61 Instead, they were

competing in a cutthroat economy and a combative political system against millions of strangers

whose interests and values were antithetical to their own.62 And most ominously, law and order




57
   Ibid., 199, 297-300, 302, 337, 347; and Roth, Michael D. Maltz, and Douglas L. Eckberg,
“Homicide Rates in the Old West,” Western Historical Quarterly 42 (2011): 173-195
(https://www.jstor.org/stable/westhistquar.42.2.0173#metadata_info_tab_contents).
58
   Ibid., 299-302, 384-385; and Roth, “American Homicide: Theory, Methods, Body Counts,”
Historical Methods 43 (2010): 185-192.
59
   Roth, American Homicide, 299-302, 384-385. See also Roth, “Measuring Feelings and Beliefs
that May Facilitate (or Deter) Homicide.”
60
   Roth, American Homicide, 300.
61
   Ibid.
62
   Ibid.
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broke down in the wake of the hostile military occupation of the Southwest, the political crisis of

the 1850s, the Civil War, and Reconstruction.63

       30.     The proportion of homicides committed with firearms increased as well from the

Mexican War through Reconstruction, as it had during previous increases in nondomestic

homicides during the Revolution, in the postrevolutionary South, and on contested frontiers.64

Because the pistols, muskets, and rifles in use in the early years of the crisis of the mid-

nineteenth century were still predominantly single-shot, muzzle-loading, black powder weapons,

the proportion of homicides committed with guns stayed in the range of a third to two-fifths,

except on the frontier.65 Concealable fighting knives, together with concealable percussion-cap

pistols, remained the primary murder weapons. But in time, new technologies added to the toll

in lives, because of their lethality and the new ways in which they could be used.

       31.     Samuel Colt’s cap-and-ball revolvers, invented in 1836, played a limited role in

the early years of the homicide crisis, but they gained popularity quickly because of their

association with frontiersmen, Indian fighters, Texas Rangers, and cavalrymen in the Mexican

War.66 They retained some of the limitations of earlier firearms, because their rotating

cylinders—two of which came with each revolver—had to be loaded one chamber at a time.

Users had to seat a percussion cap on a nipple at the rear of each chamber, pour powder into each

chamber, secure the powder with wadding, and ram the bullet down the chamber with a rod or an

attached loading lever. Thus cap-and-ball revolvers, like muzzle-loaders, could not be loaded




63
   Ibid., 299-302, 332, 337, 354.
64
   Roth, “Why Guns Are and Aren’t the Problem,” 116-117.
65
   Roth, “American Homicide Supplemental Volume: Weapons,” Figures 25 through 46, and 51
through 57.
66
   Patricia Haag, The Gunning of America: Business and the Making of American Gun Culture
(New York: Basic Books, 2016).
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quickly, nor could they be kept loaded indefinitely without risk of damaging the charge or the

gun. But they were deadlier than their predecessors, because they made it possible for a person

to fire five or six shots in rapid succession and to reload quickly with the second cylinder.67

       32.     Smith and Wesson’s seven-shot, .22 caliber, breech-loading, Model 1 rimfire

revolver, invented in 1857, appeared on the market when the homicide crisis was already well

underway. But it had none of the limitations of percussion-cap pistols or cap-and-ball revolvers.

It could be loaded quickly and easily because it did not require powder, wadding, and shot for

each round; and it could be kept loaded indefinitely because its corrosive powder was

encapsulated in the bullet.68 And it did not require a new percussion cap for each chamber,

because the primer was located in a rim around the base of the bullet, set to ignite as soon as it

was hit by the hammer.69 As Smith and Wesson noted in its advertisements,

         Some of the advantages of an arm constructed on this plan are:

         The convenience and safety with which both the arm and ammunition may be
         carried;

         The facility with which it may be charged, (it requiring no ramrod, powder-
         flask, or percussion caps);

         Certainty of fire in damp weather;

         That no injury is caused to the arm or ammunition by allowing it to remain
         charged any length of time.70




67
   Edward C. Ezell, Handguns of the World: Military Revolvers and Self-Loaders from 1870 to
1945 (Harrisburg, Pennsylvania: Stackpole Books, 1981), 24-28; Julian S. Hatcher, Pistols and
Revolvers and Their Use (Marshallton, Delaware: Small-Arms Technical Publishing Company,
1927), 8-11; and Charles T. Haven and Frank A. Belden, A History of the Colt Revolver and the
Other Arms Made by Colt’s Patent Fire Arms Manufacturing Company from 1836 to 1940 (New
York: Bonanza Books, 1940), 17-43.
68
   Roy G. Jinks, History of Smith and Wesson (North Hollywood: Beinfeld, 1977), 38-57.
69
   Ibid., 38-57.
70
   Ibid., 39.
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       33.     Smith and Wesson had created a near-perfect murder weapon. It was lethal,

reliable, easy to carry and conceal, capable of multiple shots, and ready to use at any time.71 Its

only drawbacks were its small caliber and low muzzle velocity, which limited its ability to stop

an armed or aggressive adversary on the first shot, and the difficulty and danger of reloading.

The reloading problem was remedied by Colt’s development in 1889 of the first double-action

commercial revolver with a swing-out cylinder and Smith and Wesson’s addition in 1896 of an

ejector to push out spent cartridges.72

       34.     These new weapons were not the primary cause of the surge in violence that

occurred in the United States from the Mexican War through Reconstruction. But they did

contribute to the later stages of the crisis, as they superseded knives and black powder handguns

as the primary weapons used in interpersonal assaults, not only because of their greater lethality,

but because they were used in novel ways.73 Easily concealed, they became the weapons of

choice for men who stalked and ambushed estranged spouses or romantic partners, for suspects

who killed sheriffs, constables, or police officers, and for self-styled toughs who engaged in

shootouts in bars, streets, and even churchyards.74 And as modern, breech-loading firearms

replaced the muzzle-loading and cap-and-ball gunstock from the late 1850s through World War

I, the proportion of homicides committed with firearms continued to climb even when homicide




71
   Ibid., 38-57.
72
   Rick Sapp, Standard Catalog of Colt Firearms (Cincinnati: F+W Media, 2011), 96; Jeff
Kinard, Pistols: An Illustrated History of Their Impact (Santa Barbara: ABC-CLIO, 2003), 163;
and Jinks, History of Smith and Wesson, 104-170.
73
   Roth, “Why Guns Are and Aren’t the Problem,” 124-126 (recognizing that “Americans used
the new firearms in ways they could never use muzzle-loading guns [. . .] The ownership of
modern breech-loading [firearms] made the homicide rate worse in the United States than it
would have been otherwise because it facilitated the use of lethal violence in a wide variety of
circumstances.”) (emphasis added).
74
   Ibid., 124-125.
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rates fell for a short time, as they did at the end of Reconstruction. By the eve of World War I,

rates had fallen in the New England states to 1 to 4 per 100,000 adults per year, to 2 to 5 per

100,000 in the Prairie states, and 3 to 8 per 100,000 in the industrial states. In the West, rates had

fallen to 12 per 100,000 adults per year in California, 15 per 100,000 in Colorado, and

approximately 20 to 30 per 100,000 in Arizona, Nevada, and New Mexico. Homicide rates

whipsawed, however, in the South. They fell in the late 1870s and 1880s, only to rise in the

1890s and early twentieth century, to just under 20 per 100,000 adults in Florida, Kentucky,

Louisiana, Missouri, and Tennessee, and 35 per 100,000 in Virginia and North Carolina.75

Ominously, too, firearms invaded families and intimate relationships, so relatives, spouses, and

lovers were as likely to be killed with guns as unrelated adults—something that had never

happened before in America’s history.76 That is why the proportion of homicides committed

with firearms—overwhelmingly, concealed revolvers—reached today’s levels by the 1920s,

ranging from a median of 56 percent in New England and over 70 percent in the South and

West.77 And that is why every state in the Union restricted the right to carrying certain

concealable weapons.

       35.     It is important to note that state legislators experimented with various degrees of

firearm regulation, as the nation became more and more violent. In Texas, where the homicide

rate soared to at least 76 per 100,000 adults per year from June, 1865, to June, 1868,78 the

legislature passed a bill in 1870 to prohibit the open or concealed carry of a wide range of




75
   Ibid., 125-127, 388, 403-404; and Roth, “American Homicide Supplemental Volume:
American Homicides in the Twentieth Century,” Figures 4a and 5a.
76
   Ibid., 125.
77
   Roth, “American Homicide Supplemental Volume: Weapons,” Figures 2 through 7.
78
   Roth, Maltz, and Eckberg, “Homicide Rates in the Old West,” 192.
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weapons, including firearms, on social occasions;79 and it followed in 1871 with a bill banning in

most circumstances the carrying, open or concealed, of small deadly weapons, including pistols,

that were not designed for hunting or militia service.80 These laws were enforced with little or



79
   Brennan Gardner Rivas, “Enforcement of Public Carry Restrictions: Texas as a Case Study,”
UC Davis Law Review 55 (2021): 2609-2610 (https://lawreview.law.ucdavis.edu/issues
/55/5/articles/files/55-5_Rivas.pdf). “Be it enacted by the Legislature of the State of Texas, That
if any person shall go into any church or religious assembly, any school room or other place
where persons are assembled for educational, literary or scientific purposes, or into a ball room,
social party or other social gathering composed of ladies and gentlemen, or to any election
precinct on the day or days of any election, where any portion of the people of this State are
collected to vote at any election, or to any other place where people may be assembled to muster
or perform any other public duty, or any other public assembly, and shall have about his person a
bowie-knife, dirk or butcher-knife, or fire-arms, whether known as a six-shooter, gun or pistol of
any kind, such person so offending shall be deemed guilty of a misdemeanor, and on conviction
thereof shall be fined in a sum not less than fifty or more than five hundred dollars, at the
discretion of the court or jury trying the same; provided, that nothing contained in this section
shall apply to locations subject to Indian depredations; and provided further, that this act shall
not apply to any person or persons whose duty it is to bear arms on such occasions in discharge
of duties imposed by law.” An Act Regulating the Right to Keep and Bear Arms, 12th Leg., 1st
Called Sess., ch. XLVI, § 1, 1870 Tex. Gen. Laws 63. See also Brennan Gardner Rivas, “The
Deadly Weapon Laws of Texas: Regulating Guns, Knives, and Knuckles in the Lone Star State,
1836-1930” (Ph.D. dissertation: Texas Christian University, 2019)
(https://repository.tcu.edu/handle/116099117/26778).
80
   Rivas, “Enforcement of Public Carry Restrictions,” 2610-2611. Rivas, quoting the law, says
that “The first section stated, ‘That any person carrying on or about his person, saddle, or in his
saddle bags, any pistol, dirk, dagger, slung-shot, sword-cane, spear, brass-knuckles, bowie knife,
or any other kind of knife manufactured or sold for the purposes of offense or defense, unless he
has reasonable grounds for fearing an unlawful attack on his person, and that such ground of
attack shall be immediate and pressing; or unless having or carrying the same on or about his
person for the lawful defense of the State, as a militiaman in actual service, or as a peace officer
or policeman, shall be guilty of a misdemeanor, and, on conviction thereof shall, for the first
offense, be punished by fine of not less than twenty-five nor more than one hundred dollars, and
shall forfeit to the county the weapon or weapons so found on or about his person; and for every
subsequent offense may, in addition to such fine and forfeiture, be imprisoned in the county jail
for a term not exceeding sixty days; and in every case of fine under this section the fines imposed
and collected shall go into the treasury of the county in which they may have been imposed;
provided that this section shall not be so construed as to prohibit any person from keeping or
bearing arms on his or her own premises, or at his or her own place of business, nor to prohibit
sheriffs or other revenue officers, and other civil officers, from keeping or bearing arms while
engaged in the discharge of their official duties, nor to prohibit persons traveling in the State
from keeping or carrying arms with their baggage; provided, further, that members of the
Legislature shall not be included under the term “civil officers” as used in this act.’ An Act to
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no racial bias until the 1890s, when white supremacists disfranchised African Americans,

legalized segregation, and took firm control of the courts and law enforcement.81

       36.     Tennessee and Arkansas went farther than Texas to stem the tide of post-Civil

War interpersonal violence. In 1871, Tennessee flatly prohibited the carrying of pocket pistols

and revolvers, openly or concealed, except for the large army and navy pistols commonly carried

by members of the military, which could be carried openly, but not concealed.82 Arkansas




Regulate the Keeping and Bearing of Deadly Weapons, 12th Leg. Reg. Sess., ch. XXXIV, § 1,
1871 Tex. Gen. Laws 25. The third section of the act reads, ‘If any person shall go into any
church or religious assembly, any school room, or other place where persons are assembled for
amusement or for educational or scientific purposes, or into any circus, show, or public
exhibition of any kind, or into a ball room, social party, or social gathering, or to any election
precinct on the day or days of any election, where any portion of the people of this State are
collected to vote at any election, or to any other place where people may be assembled to muster,
or to perform any other public duty, (except as may be required or permitted by law,) or to any
other public assembly, and shall have or carry about his person a pistol or other firearm, dirk,
dagger, slung shot, sword cane, spear, brass-knuckles, bowie-knife, or any other kind of knife
manufactured and sold for the purposes of offense and defense, unless an officer of the peace, he
shall be guilty of a misdemeanor, and, on conviction thereof, shall, for the first offense, be
punished by fine of not less than fifty, nor more than five hundred dollars, and shall forfeit to the
county the weapon or weapons so found on his person; and for every subsequent offense may, in
addition to such fine and forfeiture, be imprisoned in the county jail for a term not more than
ninety days.’ Id. § 3.” The law did not apply, however, ‘to a person’s home or business, and
there were exemptions for “peace officers” as well as travelers; lawmakers and jurists spent
considerable time fleshing out who qualified under these exemptions, and how to allow those
fearing an imminent attack to carry these weapons in public spaces. Also, the deadly weapon
law did not apply to all guns or firearms but just pistols. The time-place-manner restrictions,
however, applied to any “fire-arms . . . gun or pistol of any kind” and later “pistol or other
firearm,” as well as “any gun, pistol . . . .’” See also Brennan Gardner Rivas, “The Deadly
Weapon Laws of Texas: Regulating Guns, Knives, and Knuckles in the Lone Star State, 1836-
1930 (Ph. D. dissertation: Texas Christian University, 2019), 72-83, 124-163
(https://repository.tcu.edu/handle/116099117/26778).
81
   Rivas, “Enforcement of Public Carry Restrictions,” 2609-2620. The study draws on
enforcement data from four Texas counties, 1870-1930: 3,256 total cases, of which 1,885 left a
record of final adjudication. See also Rivas, “Deadly Weapon Laws of Texas,” 164-195.
82
   1871 Tenn. Pub. Acts 81, An Act to Preserve the Peace and to Prevent Homicide, ch. 90, § 1;
State v. Wilburn, 66 Tenn. 57, 61 (1872) (“It shall not be lawful for any person to publicly carry
a dirk, sword cane, Spanish stiletto, belt or pocket pistol, or revolver, other than an army pistol,
or such as are commonly carried and used in the United States army, and in no case shall it be
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followed suit in 1881.83 Tennessee’s law withstood a court challenge, and Arkansas’s was never

challenged.84 And both states moved to prevent the sale or transfer of pocket pistols or ordinary

revolvers. In 1879, Tennessee prohibited “any person to sell, or offer to sell, or bring into the

State for the purpose of selling, giving away, or otherwise disposing of, belt or pocket pistols, or

revolvers, or any other kind of pistol, except army or navy pistols.”85 Arkansas passed a similar

prohibition in 1881, but went even further by prohibiting the sale of pistol cartridges as well:

“Any person who shall sell, barter, or exchange, or otherwise dispose of, or in any manner

furnish to any person any dirk or bowie knife, or a sword or a spear in a cane, brass or metal

knucks, or any pistol, of any kind of whatever, except as are used in the army or navy of the

United States, and known as the navy pistol, or any kind of cartridge for any pistol, or any person

who shall keep such arms or cartridges for sale, shall be guilty of a misdemeanor.”86




lawful for any person to carry such army pistol publicly or privately about his person in any
other manner than openly in his hands.”).
83
   1881 Ark. Acts 191, An Act to Preserve the Public Peace and Prevent Crime, chap. XCVI, § 1-
2 (“That any person who shall wear or carry, in any manner whatever, as a weapon, any dirk or
bowie knife, or a sword, or a spear in a cane, brass or metal knucks, razor, or any pistol of any
kind whatever, except such pistols as are used in the army or navy of the United States, shall be
guilty of a misdemeanor. . . . Any person, excepting such officers or persons on a journey, and on
his premises, as are mentioned in section one of this act, who shall wear or carry any such pistol
as i[s] used in the army or navy of the United States, in any manner except uncovered, and in his
hand, shall be guilty of a misdemeanor.”).
84
   See Brennan Gardner Rivas, “The Problem with Assumptions: Reassessing the Historical Gun
Policies of Arkansas and Tennessee,” Second Thoughts, Duke Center for Firearms Law (Jan. 20,
2022), https://firearmslaw.duke.edu/2022/01/the-problem-with-assumptions-reassessing-the-
historical-gun-policies-of-arkansas-and-tennessee/.
85
   1879 Tenn. Pub. Act 135-36, An Act to Prevent the Sale of Pistols, chap. 96, § 1; State v.
Burgoyne, 75 Tenn. 173, 173-74 (1881).
86
   Acts of the General Assembly of Arkansas, No. 96 § 3 (1881).
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       37.     California’s legislature, recognizing that the homicide rate had reached

catastrophic levels (over 65 per 100,000 adults per year),87 banned concealed weapons in 1863,

because, as the editor of the Daily Alta Californian declared,

         During the thirteen years that California has been a State, there have been more
         deaths occasioned by sudden assaults with weapons previously concealed
         about the person of the assailant or assailed, than by all other acts of violence
         which figure on the criminal calendar…. For many sessions prior to the last,
         ineffectual efforts were made to enact some statute which would effectually
         prohibit this practice of carrying concealed weapons. A radical change of
         public sentiment demanded it, but the desired law was not passed until the last
         Legislature, by a handsome majority.88

       38.     But the legislature repealed the law in 1870, as public sentiment veered back

toward the belief that the effort to make California less violent was hopeless, and that the only

protection law-abiding citizens could hope for was to arm themselves. And the legislature once

again had the enthusiastic support of the editor of the Daily Alta Californian, which then opined,

“As the sovereignty resides in the people in America, they are to be permitted to keep firearms

and other weapons and to carry them at their pleasure.”89 A number of counties dissented,

however, and made it a misdemeanor to carry a concealed weapon without a permit—ordinances

that they enforced.90 In 1917, the state made it a misdemeanor to carry a concealed weapon in

incorporated cities and required that gun dealers register handgun sales and send the Dealer’s



87
   Roth, Maltz, and Eckberg, “Homicide Rates in the Old West,” 183. On violence in California
and across the Far West, see Roth, Maltz, and Eckberg, “Homicide Rates in the Old West,” 173-
195; Clare V. McKanna, Jr., Homicide, Race, and Justice in the American West, 1880-1920
(Tucson: University of Arizona Press, 1997); McKanna, Race and Homicide in Nineteenth-
Century California (Reno: University of Nevada Press, 2002); and John Mack Faragher, Eternity
Street: Violence and Justice in Frontier Los Angeles (New York: W. W. Norton, 2016); and
Roth, American Homicide, 354.
88
   Clayton E. Cramer and Joseph Olson, “The Racist Origins of California’s Concealed Weapon
Permit Law,” Social Science Research Network, posted August 12, 2016, 6-7
(https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2599851).
89
   Cramer and Olson, “Racist Origins of California’s Concealed Weapon Permit Law,” 7-10.
90
   Ibid., 11.
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Record of Sale to local law enforcement.91 And in 1923, the state extended the licensing

requirement to unincorporated areas and prohibited non-citizens from carrying concealed

weapons.92

       39.     Other states, like Ohio, tried to have it both ways. The Ohio legislature banned

the carrying of concealable weapons in 1859, citing public safety. But it directed jurors, in the

same law, to acquit persons who carried such weapons:

         If it shall be proved to the jury, from the testimony on the trial of any case
         presented under the first section of this act, that the accused was, at the time of
         carrying any of the weapon or weapons aforesaid, engaged in the pursuit of
         any lawful business, calling, or employment, and that the circumstances in
         which he was placed at the time aforesaid were such as to justify a prudent
         man in carrying the weapon or weapons aforesaid for the defense of his person,
         property or family.93

The burden of proof remained with the person who carried the concealed weapon.

       40.     It is important to remember, however, that even when states enacted different

types of firearms restrictions, the fact remains that many jurisdictions enacted statutory

restrictions at that time to ensure the safety of the public and law enforcement.

II.   ADDRESSING THREATS TO THE REPUBLIC AND ITS CITIZENS FROM MASS
      MURDERERS FROM THE REVOLUTION INTO THE EARLY TWENTIETH CENTURY

       41.     The Republic faced threats not only from individual murderers, but from groups

of murderers. Mass murder has been a fact of life in the United States since the mid-nineteenth

century, when lethal and nonlethal violence of all kinds became more common. But mass

murder was a group activity through the nineteenth century because of the limits of existing


91
   Ibid., 11-13.
92
   Ibid., 13-15. Note that the title of the Cramer and Olson essay is misleading. It does not refer
to the origins of the laws discussed here or to the ways in which they were enforced. It refers
instead to an unsuccessful effort in 1878 and a successful effort in 1923 to deny resident aliens
the right to bear arms.
93
   Joseph R. Swan, The Revised Statutes of the State of Ohio, of a General Nature, in Force
August 1, 1860 (Cincinnati: Robert Clarke & Co., 1860), 452.
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technologies.94 The only way to kill a large number of people was to rally like-minded

neighbors and go on a rampage with clubs, knives, nooses, pistols, shotguns, or rifles—weapons

that were certainly lethal but did not provide individuals or small groups of people the means to

inflict mass casualties on their own. Mass killings of this type were rare in the colonial,

Revolutionary, and Early National eras, outside of massacres of Native Americans or irregular

warfare among citizens seeking political power.95 But from the 1830s into the early twentieth

century, mass killings were common.

       42.     Examples include Nat Turner’s rebellion in Southampton County, Virginia, in

1831, which claimed sixty-nine lives; the murder of seventeen Mormons, perpetrated by militia

men and vigilantes at Haun’s Mill, Missouri in 1838; Bloody Monday in Louisville, Kentucky,

where an assault by nativist Protestants on Irish and German Catholics in 1855 left twenty-two

people dead; and the murder of nineteen Chinese Americans by a racist mob in Los Angeles in

1871. Because these mass killings were almost always spontaneous and loosely organized, and

because each involved scores of perpetrators, they were difficult for the government to prevent.




94
   On the history of mob violence, including riots and popular protests that led to mass casualties,
see Paul A. Gilje, Rioting in America (Bloomington: Indiana University Press, 1996); and David
Grimsted, American Mobbing: Toward Civil War (New York: Oxford University Press, 1996).
95
   For examples of massacres of unarmed Native Americans, see the murder in 1623 of six
Massachusetts men by a party from Plymouth Colony, led by Captain Miles Standish [Roth,
American Homicide, 42]; and the massacre in 1782 of 96 pacifist Moravian Delaware Indians at
Gnadenhutten in present-day Ohio [Rob Harper, “Looking the Other Way: The Gnadenhutten
Massacre and the Contextual Interpretation of Violence,” William and Mary Quarterly (2007)
64: 621-644 (https://www.jstor.org/stable/25096733#metadata_info_tab_contents)]. For
examples of political conflict among colonists that led to mass killings, see the confrontation in
1655 at Severn River in Maryland between opposed factions in the English Civil War [Aubrey C.
Land, Colonial Maryland: A History (Millwood, New York: Kato Press, 1981), 49-54] and the
slaughter in 1782 of rebel prisoners at Cloud’s Creek, South Carolina, by Tory partisans under
the leadership of William Cunningham [J. A. Chapman, History of Edgefield County (Newberry,
South Carolina: Elbert H. Aull, 1897), 31-34]; see also Fox Butterfield, All God’s Children: The
Bosket Family and the American Tradition of Violence (New York: Vintage, 2008), 5-6.
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Worse, in some incidents, such as the Haun’s Mill Massacre, state and local governments were

complicit; and in others, state and local governments turned a blind eye to the slaughter, as was

the case in the murder of Chinese farm workers in Chico, California, in 1877.96

       43.     The Federal government did act during Reconstruction, however, to prevent mass

murder when formally organized white supremacist organizations engaged in systematic efforts

to deprive African Americans of their civil rights, which had been guaranteed by the Thirteenth,

Fourteenth, and Fifteenth Amendments. The Ku Klux Klan Acts of 1870 and 1871, meant to

prevent assassinations and mass shootings and lynchings by white supremacist terrorists, were

effective when enforced by the federal government and the U.S. Army.97 But when federal

troops were withdrawn, white supremacist mass killings resumed. In New Orleans, for example,

an ultimately successful effort by white-supremacist Democrats to seize control of the city’s

government by violent means left dozens of Republican officials and police officers shot dead

and scores wounded.98 And the Klan Acts did nothing to prevent mass murders by spontaneous



96
   David F. Almendinger, Jr., Nat Turner and the Rising in Southampton County (Baltimore:
Johns Hopkins Press, 2014); Patrick H. Breen, The Land Shall Be Deluged in Blood: A New
History of the Nat Turner Revolt (New York: Oxford University Press, 2015); Stephen B. Oates,
The Fires of Jubilee: Nat Turner’s Fierce Rebellion (New York: Harper and Row, 1975);
Stephen C. LeSueur, The 1838 Mormon War in Missouri (Columbia: University of Missouri
Press, 1987), 162-168; Brandon G. Kinney, The Mormon War: Zion and the Missouri
Extermination Order of 1838 (Yardley, Pennsylvania: Westholme, 2011); Mary Alice Mairose,
“Nativism on the Ohio: the Know Nothings in Cincinnati and Louisville, 1853-1855” (M.A.
thesis, Ohio State University, 1993); W. Eugene Hollon, Frontier Violence: Another Look (New
York: Oxford University Press, 1974), 93-95; Faragher, Eternity Street, 463-480; and Sucheng
Chan, The Bitter-Sweet Soil: The Chinese in California Agriculture, 1860-1910 (Berkeley:
University of California Press, 1986), 372.
97
   Alan Trelease, White Terror: The Ku Klux Klan Conspiracy and Southern Reconstruction
(New York: Harper and Row, 1975).
98
   Dennis C. Rousey, Policing the Southern City: New Orleans, 1805-1889 (Baton Rouge:
Louisiana State University Press, 1996), 151-158. See also LeeAnna Keith, The Colfax
Massacre: The Untold Story of Black Power, White Terror, and the Death of Reconstruction
(New York: Oxford University Press, 2008); and Gilles Vandal, Rethinking Southern Violence:
Homicides in Post-Civil War Louisiana, 1866-1884 (Columbus: Ohio State University Press,
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mobs and loosely organized vigilantes. Rioters and vigilantes remained a threat well into the

twentieth century. In 1921 more than three hundred African American citizens were murdered in

the Tulsa Race Massacre in Oklahoma.99

III. ADDRESSING THREATS TO THE REPUBLIC AND ITS CITIZENS FROM MASS
     MURDERERS FROM THE EARLY TWENTIETH CENTURY TO THE PRESENT

       44.     The character of mass murder began to change in the late nineteenth and early

twentieth century with the invention and commercial availability of new technologies that gave

individuals or small groups of people the power to kill large numbers of people in a short amount

of time. These technologies proved useful to criminal gangs, anarchists, and factions of the labor

movement intent on killing adversaries, public officials, and law enforcement officers. The

technologies that were most widely used by criminals and terrorists were dynamite, invented by

Alfred Nobel in 1866, and the Thompson submachine gun, invented in 1918 by General John T.

Thompson, who improved upon a pioneering German design.

       45.     The advantage of dynamite over nitroglycerin and other explosives used in

mining and construction was its power and its stability, which made accidental explosions rare.

The advantages of submachine guns over existing machine guns as weapons of war were that

they were light enough to be carried and operated by a single individual, and they were capable

of firing .45 caliber bullets from 20-round clips or 50- or 100-round drum magazines at a rate of

600 to 725 rounds per minute.100


2000), 67-109.
99
   On the deadly race riots of 1919-1921, see William M. Tuttle, Jr., Race Riot: Chicago in the
Red Summer of 1919 (New York: Atheneum, 1970); Scott Ellsworth, Death in a Promised Land:
The Tulsa Race Riot of 1921 (Baton Rouge: Louisiana State University Press, 1982); and Tim
Madigan, The Burning: Massacre, Destruction, and the Tulsa Race Riot of 1921 (New York:
Thomas Dunne Books / St. Martin’s Press, 2001).
100
    Herta E. Pauli, Alfred Nobel: Dynamite King, Architect of Peace (New York: L. B. Fisher,
1942); and Bill Yenne, Tommy Gun: How General Thompson’s Submachine Gun Wrote History
(New York: Thomas Dunne Books, 2009).
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       46.     Criminals and terrorists quickly discovered how accessible and useful these new

technologies were. They could be purchased legally by private citizens. In the 1920s,

Thompson submachine guns were expensive. They sold for $175 to $225 each, at a time when a

new Ford cost $440 (the rough equivalent of $2996 to $3852 today, while now a base model of

the AR-15 semiautomatic rifle can be purchased for less than $400 and a 30-round magazine for

as little as $10).101 That is why Thompsons were favored by those with resources: law

enforcement, the Irish Republican Army, Sandinista rebels in Nicaragua, and bank robbers.

Dynamite, however, cost only 18 cents a pound (the rough equivalent of $3.08 today), so it was

favored by labor activists and anarchists.102 Federal, state, and local officials and law

enforcement officers suddenly confronted novel threats to their personal safety. Submachine

guns were used most notoriously in gangland slayings in Chicago during the Prohibition Era,

such as the St. Valentine’s Day Massacre and the Kansas City Massacre.103 Dynamite was used

in a string of anarchist bombings in 1919-1920. Those included the murder of 38 people and the




101
    Yenne, Tommy Gun, 86. Estimates vary on the purchasing power of 1919 dollars in today’s
dollars, but $1.00 in 1919 was worth roughly $17.12 today. See the CPI Inflation Calculator
(https://bit.ly/3CS5UNl), accessed October 4, 2022. The prices of AR-15 style rifles today are
from guns.com (https://www.guns.com/firearms/ar-15-rifles?priceRange=%24250%20-
%20%24499), accessed October 4, 2022. The prices of 30-round magazines of .233 caliber
ammunition are from gunmagwarehouse.com (https://gunmagwarehouse.com/all-magazines
/rifles/magazines/ar-15-magazines), accessed October 4, 2022.
102
    Department of Commerce, Bureau of the Census, Fourteenth Census of the United States
Manufactures: Explosives (Washington, D.C.: Government Printing Office, 1922), 6. Note that a
pound of dynamite would be far more expensive today—potentially hundreds of thousands of
dollars—because it would require the purchase of a blasting license, a storage bunker, and an
isolated plot of land for the storage bunker. See U.S Department of Justice, Bureau of Alcohol,
Tobacco, Firearms, and Explosives, Enforcement Programs and Services, ATF Federal
Explosives Law and Regulations, 2012 (https://www.atf.gov/explosives/docs/report/publication-
federal-explosives-laws-and-regulations-atf-p-54007/download), accessed December 20, 2022.
103
    William Helmer and Arthur J. Bilek, The St. Valentine's Day Massacre: The Untold Story of
the Bloodbath That Brought Down Al Capone (Nashville: Cumberland House, 2004); and
Yenne, Tommy Gun, 74-78, 91-93.
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wounding of 143 in an attack on Wall Street, 36 dynamite bombs mailed to justice officials,

newspaper editors, and businessmen (including John D. Rockefeller), and a failed attempt to kill

Attorney General A. Mitchell Palmer and his family.104 Dynamite was also used effectively for

malicious, private ends. For example, Osage Indians were murdered by an individual in

Oklahoma in an attempt to gain their headrights and profit from insurance policies on them.105

       47.    Because of the threats these new technologies posed for public safety, public

officials widened their regulatory focus beyond concealed and concealable weapons. Thirteen

states restricted the capacity of ammunition magazines for semiautomatic and automatic firearms

between 1927 and 1934,106 and Congress passed the National Firearms Acts of 1934 and 1938,

which restricted ownership of machine guns and submachine guns (known today as automatic

weapons) because of their ability to fire rapidly from large-capacity magazines.107 And the

Organized Crime Control Act of 1970 restricted ownership of a wide range of explosives,

building upon regulations that began in 1917 with the passage of the Federal Explosives Act,




104
    Paul Avrich, Sacco and Vanzetti: The Anarchist Background (Princeton: Princeton University
Press, 1991), 140-156, 181-195; Beverly Gage, The Day Wall Street Exploded: A Story of
American in Its First Age of Terror (New York: Oxford University Press, 2009); David
Rapoport, Waves of Global Terrorism: From 1879 to the Present (New York: Columbia
University Press, 2022), 65-110. Consider also the bombing of the office of the Los Angeles
Times in 1910 by two union activists, which killed 21 persons and injured 100 more, in Louis
Adamic, Dynamite: The Story of Class Violence in America (New York: Viking, 1931).
105
    For this and other murders of Osage people see David Grann, Killers of the Flower Moon:
The Osage Murders and the Birth of the FBI (New York, Doubleday, 2017).
106
    Robert J. Spitzer, “Gun Accessories and the Second Amendment: Assault Weapons,
Magazines, and Silencers,” Law and Contemporary Problems 83 (2020): 238
(https://scholarship.law.duke.edu/lcp/vol83/iss3/13). In the same period, five additional states
restricted magazine capacity for fully automatic weapons, but not semiautomatic weapons.
107
    The National Firearms Act of 1934, 48 Statute 1236 (https://homicide.northwestern.edu
/docs_fk/homicide/laws/national_firearms_act_of_1934.pdf); and the National Firearms Act of
1938, 52 Statute 1250 (https://homicide.northwestern.edu/docs_fk/homicide/laws/national
_firearms_act_of_1938.pdf).
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which restricted the distribution, storage, possession, and use of explosive materials during the

time of war.108

       48.        Since 1970, public officials have continued to reserve the right to regulate the

sale, ownership, and control of new technologies that can be used by individuals or small groups

to commit mass murder. The Homeland Security Act of 2002 improved security at airports and

in cockpits to ensure that airplanes could not be used by terrorists to commit mass murder. The

Secure Handling of Ammonium Nitrate Act of 2007 restricted access to large quantities of

fertilizer to prevent terrorist attacks like the one that killed 165 people in Oklahoma City in

1995.109 And in the wake of the massacre of 58 people and wounding of hundreds of others at a

concert in Las Vegas in 2017, the Trump administration issued a regulation that banned the sale

or possession of bump stocks. It gave owners 90 days to destroy their bump stocks or turn them

in to the Bureau of Alcohol, Tobacco, Firearms, and Explosives.110

       49.        In recent decades, criminal organizations, terrorists, and lone gunmen with an

intent to commit mass murder have also discovered the effectiveness of rapid-fire semiautomatic

weapons with large capacity magazines. These weapons, which were designed for offensive

military applications rather than individual self-defense, emerged from technologies developed

for military use during the Cold War, beginning with the Soviet AK-47 assault rifle, which was

invented in 1947, adopted by the Soviet Army in 1949, and used in the 1950s by the Soviets or



108
    The Organized Crime Control Act of 1970, 84 Statute 922; and the Federal Explosives Act of
1917, 40 Statute 385.
109
    Public Law 107-296, November 25, 2002, “To Establish the Department of Homeland
Security” (https://www.dhs.gov/xlibrary/assets/hr_5005_enr.pdf); and 6 U.S. Code § 488a -
Regulation of the sale and transfer of ammonium nitrate (https://www.law.cornell.edu/uscode
/text/6/chapter-1/subchapter-VIII/part-J). The ammonium nitrate regulations were to be enforced
no later than 90 days after December 26, 2007. Accessed December 20, 2022.
110
    New York Times, December 18, 2018 (https://www.nytimes.com/2018/12/18/us/politics
/trump-bump-stocks-ban.html), accessed December 20, 2022.
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their allies during the Hungarian Revolution, the Vietnam War, and the Laotian Civil War.111

The signature U.S. military firearm of the Cold War era—the M-16 rifle, developed in 1959 with

a 30-round magazine and a muzzle velocity of over 3,000 feet per second112—was capable of

firing 750 to 900 rounds per minute when set on fully automatic.113 But the M-16 was used more

often in combat—and more accurately, effectively, and sustainably as a weapon for inflicting

mass casualties—when set on semiautomatic, which was standard military procedure. That is

why the U.S. Army defines “rapid fire” as 45 rounds per minute (the rate of fire of an M-16

when set on semiautomatic), not 750 to 900.114 And that is why in 1998 the U.S. Marine Corps

adopted the M-16A4, which replaced the “fully automatic” switch with a three-round burst (but

is otherwise the same weapon as the M-16)—an alteration that slows the potential rate of fire,

conserves ammunition, and improves accuracy.115 The civilian version of the M-16—the

ArmaLite AR-15—has approximately the same muzzle velocity as the M-16 (3,300 feet per

second) and the same rate of fire as the M-16 on semiautomatic: 45 rounds per minute.116

       50.     The muzzle velocity of semiautomatic handguns, like the Glock 17, is far lower

than that of an M-16 or its civilian counterparts: around 1,350 feet per second. But technological

advances have increased the speed at which semiautomatic handguns can be fired. An expert can



111
    Edward Ezell, The AK-47 Story: Evolution of the Kalashnikov Weapons (Harrisburg,
Pennsylvania: Stackpole Books, 1986.
112
    Muzzle velocity is the speed at which a round exits the barrel of a firearm.
113
    Edward Ezell, The Great Rifle Controversy: Search for the Ultimate Infantry Weapon from
World War II through Vietnam and Beyond (Harrisburg, Pennsylvania: Stackpole Books, 1984).
114
    Sections 8-17 through 8-22 (Rates of Fire), Sections 8-23 and 8-24 (Follow Through), and
Sections B-16 through B22 (Soft Tissue Penetration), in TC 3-22.9 Rifle and Carbine Manual,
Headquarters, Department of the Army (May 2016). Available at the Army Publishing
Directorate Site (https://armypubs.army.mil/epubs/DR_pubs/DR_a/pdf/web/ARN19927_TC_3-
22x9_C3_FINAL_WEB.pdf), accessed December 20, 2022.
115
    See military-today.com (http://www.military-today.com/firearms/m16.htm), accessed
December 20, 2022.
116
    Ezell, The Great Rifle Controversy, 177-192.
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fire an entire 30-round magazine from a Glock 17 handgun in five seconds.117 And they are

affordable. A new semiautomatic handgun can be purchased for less than $200 and equipped

with a 33-round magazine for less than $15.118

        51.    It did not take criminals, terrorists, and lone gunmen long to adopt the rapid-fire

semiautomatic handguns and rifles with large capacity magazines that arrived in the domestic

market in the 1970s and 1980s. These firearms can inflict mass casualties in a matter of seconds

and maintain parity with law enforcement in a standoff, which is why many police and sheriff

departments across the United States have purchased semiautomatic rifles and armored vehicles

to defend themselves and decrease the likelihood that officers are killed or wounded.119

        52.    Manufacturers soon discovered ways to increase the rate of fire of these new

semiautomatic weapons even further. Some innovations, such as bump stocks and modification

kits, allowed owners to transform semiautomatic rifles into fully automatic rifles. And in

response to the Trump administration’s regulatory ban on the production and sale of bump stocks

and modification kits, the firearms industry has developed “binary” triggers that fire when pulled

and when released—a modification that doubles the rate at which semiautomatic weapons can be

fired.120



117
    See Jerry Miculek, “Dual Glock 17 Rapid Fire 60 Rounds in 5 Seconds! 660 RPM.”
YouTube (https://www.youtube.com/watch?v=1H5KsnoUBzs), accessed December 20, 2022.
118
    See guns.com for the price of semiautomatic handguns (https://www.guns.com/firearms
/handguns/semi-auto?priceRange=Less%20than%20%24250) and bymymags.com for the price
of large capacity magazines (https://www.buymymags.com/), accessed October 4, 2022.
119
    Sam Bieler, “Police Militarization in the USA: The State of the Field,” Policing: An
International Journal 39 (2016): 586-600, available at https://www.emerald.com/insight
/content/doi/10.1108/PIJPSM-03-2016-0042/full/pdf?casa_token=TYUuIouUCc8AAAAA
:IWXQRQOtW90KZ2AKwzHNMX2tfRix0zAxRRkjQSy3rA-
uUpnylZrnp0Xolhj7UFIf05WGZkr_92L__QGk_OAxnSH-3h26oxKC4e7vM79VCBpFl9_cHg.
120
    Bureau of Alcohol, Tobacco, Firearms, and Explosives, Office of Enforcement Programs and
Services, Office of Field Operations, “Open Letter to All Federal Firearms Licensees,” March
22, 2022 (https://www.atf.gov/firearms/docs/open-letter/all-ffls-mar-2022-open-letter-forced-
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        53.     Just as dangerous, however, were modifications that helped users fire more

rapidly with semiautomatic firearms. The modifications included “fixes” as simple as stretching

a rubber band from the trigger to the trigger guard of an AR-15—the civilian version of the M-

16, which differs from the military model only in its lack of a switch for fully automatic. The

band pushes the trigger forward more rapidly after each round and enables users to fire rapid

semiautomatic bursts with help of the weapon’s natural recoil. The rubber band method works

because manufacturers have increased the fire rate of semiautomatic weapons by decreasing the

pressure it takes to pull the trigger.121

        54.     The threat to public safety and law enforcement posed by semiautomatic rifles—

with or without dangerous modifications—is a modern phenomenon that has a direct correlation

with mass murder and mass shootings. The danger these firearms pose is intrinsically different

from past weaponry. In the same way that the Colt cap-and-ball revolvers and breech-loaded

firearms resulted in increased deaths by firearms, the development of semiautomatic rifles and

handguns dramatically increased the number killed or wounded in mass shootings from 1966 to

the present (see Figure 1, below).

                     Figure 1 – Mass Shootings (1966–2022): Firearm Type
 Weapon Used               Non-             Semiautomatic      Semiautomatic           Automatic
 By Shooter          semiautomatic/non-        handgun             rifle                firearms
                      automatic firearm
    Average                 5.4                  6.5                9.2                    8.1
     Killed


reset-triggers-frts/download), accessed December 20, 2022. The ATF has not banned the
production, sale, or ownership of binary triggers, but the several states have done so, citing the
threat they pose to the safety of the public and law enforcement. Those states include North
Dakota, Hawaii, Connecticut, New Jersey, Maryland, Washington, California, D.C., Iowa, New
York, Rhode Island, and Florida. (https://lundestudio.com/are-binary-triggers-legal/), accessed
December 20, 2022. See also americanfirearms.org, “A Complete Guide to Binary Triggers,”
(https://www.americanfirearms.org/guide-to-binary-triggers/), accessed December 20, 2022.
121
    See “Rapid Manual Trigger Manipulation (Rubber Band Assisted),” YouTube
(https://www.youtube.com/watch?v=PVfwFP_RwTQ), accessed December 20, 2022.
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    Average                 3.9                     5.8               11.0                8.1
   Wounded
    Average                 9.3                     12.3              20.2                16.2
    Victims
   Number of                52                      82                 40                  8
     Mass
   Shootings


Note that mass shootings with semiautomatic rifles have been as deadly as mass shootings with

fully automatic weapons.

       55.        And the threat posed by semiautomatic rifles is amplified when they are used

in conjunction with extended magazines (more than 10 rounds) (see figure 2, below).

                  Figure 2 – Mass Shootings (1966–2022): Magazine Type
                                   No extended magazine         Extended magazine
 Mass shootings                            10.3                        26.4
 with semiautomatic handgun
 Mass shootings with                       13.0                        37.1
 semiautomatic rifle


       56.     Without extended magazines, semiautomatic rifles cause an average of 40 percent

more deaths and injuries in mass shootings than regular firearms, and 26 percent more than

semiautomatic handguns. But with extended magazines, semiautomatic rifles cause an average

of 299 percent more deaths and injuries than regular firearms, and 41 percent more than

semiautomatic handguns. And extended magazines are two-and-a-half times more likely to be

used in mass shootings with semiautomatic rifles than with semiautomatic handguns: in 30

percent versus 12 percent of incidents. Semiautomatic rifles and extended magazines are deadly

on their own. But in combination, they are extraordinarily lethal.




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       57.     The data in Figures 1 and 2, and in the immediately above paragraph, are from the

Violence Project.122 The Violence Project, which has compiled data on mass shootings from

1966 through 2021, defines a mass shooting as “a multiple homicide incident in which four or

more victims are murdered with firearms—not including the offender(s)—within one event, and

at least some of the murders occurred in a public location or locations in close geographical

proximity (e.g., a workplace, school, restaurant, or other public settings), and the murders are not

attributable to any other underlying criminal activity or commonplace circumstance (armed

robbery, criminal competition, insurance fraud, argument, or romantic triangle).” Other

authorities have adopted similar definitions of “mass shootings” and “mass murder.” For

example, the FBI has defined mass murder as “a number of murders (four or more) occurring

during the same incident, with no distinctive time period between the murderers.”123 Federal




122
    The Violence Project (https://www.theviolenceproject.org/mass-shooter-database/), accessed
October 4, 2022. The Violence Project database provides information on the weapons used in the
shootings. It notes, for instance, that two shooters who possessed semiautomatic rifles at the
times of their crimes did not use them, and that 8 shooters had illegal, fully automatic weapons.
Those automatic weapons included 2 Uzi submachine guns, 3 machine pistols, 1 M-16, and 2
AK-47 rifles converted to automatic. I have not participated in Violence Project or in the
collection of their data. In Figure 1, however, I have added the data from the six mass shootings
that occurred from January through August, 2022, not yet included in the Violence Project’s
data, that fit the Violence Project’s definition of a mass shooting: the Buffalo, New York,
supermarket shooting on May 14; the Robb Elementary School shooting in Uvalde, Texas, on
May 24; the Tulsa, Oklahoma medical center shooting on June 1; the concrete company shooting
in Smithsburg, Maryland, on June 9; the Highland Park, Illinois, Fourth of July Parade shooting;
and the Greenwood, Indiana, Park Mall shooting on July 17. Three were committed with
semiautomatic rifles and three with semiautomatic handguns. The table in my declaration,
unlike the tables in the Violence Project, does not include the Las Vegas shooting of 2017 (58
killed, 887 wounded). The Las Vegas shooting is an outlier in the number killed and wounded
which would skew the results of my analysis.
123
    FBI, Serial Murder: Multi-Disciplinary Perspectives for Investigators at 8 (2005)
(https://www.fbi.gov/stats-services/publications/serial-murder#two), accessed January 3, 2023.
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legislation enacted in 2013 authorized the Attorney General to assist in the investigation of mass

killings, defined to mean “3 or more killings in a single incident.”124

       58.     In other recent litigation, researcher Clayton Cramer has opined that “individual

mass murder,” as opposed to mass murders committed by groups, “is neither particularly modern

no[r] dependent on technological advances.”125 Clayton’s opinion is flawed because it is based

on his decision to define “mass murder” to include “at least two murder victims committed in

multiple locations within 24 hours.”126 His definition is not accepted among criminologists. His

opinion is also flawed because it fails to take into account many mass murders committed by

groups of people before and during the early twentieth century, such as mass murders in

connection with the draft riots in New York City in 1863 or the race riots of the early twentieth

century, as well as others referenced above in paragraphs 42, 43, and 46.

       59.     What is remarkable about the mass shootings that have plagued the United States

since 1965 is that all but four involved a lone shooter, and those that have involved more than

one assailant have involved only two: in 1998 in Jonesboro, Kentucky; in 1999 in Littleton,

Colorado; in 2015 in San Bernardino, California; and in 2019 in Jersey City, New Jersey. In the

nineteenth and early twentieth centuries, it required scores of individuals to gather together as

mobs, rioters, vigilantes, or terrorists to kill or wound dozens of people in a short space of time—

generally because of their race, ethnicity, or faith.

       60.     Today, thanks especially to extended magazines and certain classes of

semiautomatic firearms, it requires only one or two individuals to kill or wound that many




124
    28 U.S.C. § 530C(b)(1)(M).
125
    See, e.g., Bevis v. City of Naperville, No. 22-cv-4775, Dkt. 35-1 (N.D. Ill. Dec. 23, 2022)
(“Declaration of Clayton Cramer”) at ¶ 19.
126
    Declaration of Clayton Cramer at ¶ 4.
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people. And because of these modern technologies, which were developed for warfare, angry,

alienated individuals can commit mass murder for reasons that are simply personal. Mass

murderers no longer require collaborators to rally to a cause. For example, they can kill large

numbers of people simply because they feel slighted at school, because they don’t get along with

their coworkers, because they were rejected romantically, or because they simply want to make a

name for themselves. And since it is impossible in our society—indeed, in any society—to

ensure that no one is angry or alienated, restricting access to extended magazines and certain

classes of semiautomatic firearms mitigates the risk to every American.

       61.     For these reasons, local governments have enacted bans on the sale of

semiautomatic rifles with features that enhance their military utility, as the federal government

did from 1994 to 2004. And local governments have banned the sale of large capacity

magazines, because they allow mass murderers to prolong their attacks before citizens or law

enforcement can intervene—usually when the shooter is reloading. For example, the shooter

who wounded U.S. House Representative Gabby Giffords in Tucson, Arizona, in 2011 was able

to fire 31 rounds with a Glock 19 semiautomatic handgun in a matter of seconds before

bystanders could disarm him as he changed magazines. Every one of those rounds hit an

individual, killing six and injuring twelve.127

IV.   CONCLUSION

       62.     From the Founding Generation to the present, the people of the United States and

their elected representatives have recognized that there are instances in which the security of the

republic and the safety of its citizens require government-imposed restrictions. That is why the




127
   “2011 Tucson Shooting,” Wikipedia (https://en.wikipedia.org/wiki/2011_Tucson_shooting),
accessed December 20, 2022.
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majority of states passed and enforced laws against the carrying of concealable weapons, why

the federal government passed the Ku Klux Klan Acts during Reconstruction, and why states,

municipalities, and the federal government have passed and enforced laws since World War I to

restrict ownership or control of modern technologies that enable criminals, terrorists, and

malicious or delusional individuals to commit mass murder. Public officials are not required to

pass such laws, of course, but historically, they have always retained the ability to do so. There

is no evidence in the historical record to suggest that they took their decisions lightly when they

imposed these restrictions on weapons and armed voluntary organizations. And mass murders

by individuals, including mass shootings, are a recent phenomenon, caused by changes in

technology that emerged in the late nineteenth through the late twentieth century. Public

officials today are confronting a criminological problem that did not exist in the Founding Era,

nor during the first century of the nation’s existence.



       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.

       Executed on January 6, 2023 at Columbus, Ohio.




                                                      /s/




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                                     Curriculum Vitae

                                    RANDOLPH ROTH


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Personal

      Marital Status:               Married                Allison Sweeney
      Children:                     Alexander


Education

      1981, Ph.D. in History, Yale University (thesis, “Whence This Strange Fire?
      Religious and Reform Movements in Vermont, 1791-1843,” David Brion Davis
      and Howard R. Lamar, advisors)

      1973, B.A., with honors and distinction, in History, Stanford University (thesis,
      "Progressive Reform and Socialism in Berkeley, California, 1877-1924,” Carl
      Degler and Barton Bernstein, advisors)


Academic Positions

      1985-present, The Ohio State University: College of Arts and Sciences
      Distinguished Professor of History and Sociology
      1978-1985, Grinnell College: Assistant Professor of History
      1978, University of Vermont: Instructor in History
      1974-1977, Graduate Teaching Assistant, Yale University


Honorary Positions

      2012, Wayne N. Aspinall Visiting Chair Professor, University of Colorado Mesa


Professional Honors and Awards for Scholarship

      2022, Distinguished Scholar Award, Division of Historical Criminology,
      American Society of Criminology

      2013-2016, Member, Roundtable on Crime Trends in America, National Research
      Council, National Academy of Sciences

      2012, Fellow, American Association for the Advancement of Science

      2011, Michael J. Hindelang Award, American Society of Criminology, for the
      outstanding contribution to criminology over the previous three years

      2010, Allan Sharlin Memorial Award, Social Science History Association,
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      for an outstanding book in social science history

      2010, Outstanding Academic Books, Choice

      1988, E. Harold Hugo Memorial Book Prize, Old Sturbridge Village
      Research Society, for distinguished work in the history of rural society

      1982, Theron Rockwell Field Prize, Yale University, for the outstanding
      dissertation in the Humanities

      1982, George Washington Eggleston Prize, Yale University, for the
      outstanding dissertation in American history

      1973, James Birdsall Weter Prize, Stanford University, for the outstanding
      senior thesis in history


Professional Honors and Awards for Teaching

      2017, Rodica C. Botoman Award for Distinguished Undergraduate Teaching and
      Mentoring, College of Arts and Humanities

      2013, Outstanding Teaching Award, College of Arts and Sciences Student
      Council

      2009, Ohio State University Alumni Award for Distinguished Teaching

      2007, Distinguished Teaching Award, Ohio Academy of History

      1995, Clio Award, Phi Alpha Theta Honor Society, for Distinguished Teaching in
      History at Ohio State University


Grants

      2013-2014, Research Grant, Harry Frank Guggenheim Foundation

      2012-2015, Research Grant, National Science Foundation (SES-1228406)

      2000, Fellowship for University Teachers, National Endowment for the
      Humanities

      1998-2000, Research Grant and Supplemental Research Grant, National Science
      Foundation (SBR-9808050)
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        1992, Fellow, Workshop on the Rhetoric of Social History, University of
        Iowa

        1989-1990, Research Fellowship, Harry Frank Guggenheim Foundation

        1987, National Endowment for the Humanities, Summer Stipend

        1983, Research Fellowship for Recent Recipients of the Ph.D., American Council
        of Learned Societies

        1981, Fred Harris Daniels Fellowship, American Antiquarian Society



                              Bibliography and Research


Books

        American Homicide (an interregional study of violent crime and violent death in
        America from colonial times to the present). The Belknap Press of Harvard
        University Press (2009), 655 pp.

        The Democratic Dilemma: Religion, Reform, and the Social Order in the
        Connecticut River Valley of Vermont, 1791-1850. Cambridge University Press
        (1987), 399 pp.


Edited Volumes

        Co-founder and co-director, Historical Violence Database (on-line database on
        violent crime, violent death, and collective violence). Web address:
        www.sociology.ohio-state.edu/cjrc/hvd

        American Homicide Supplementary Volume (on-line supplement to American
        Homicide, including detailed appendices on methods, supplemental tables, graphs,
        and statistical analyses), approx. 750 pp. Web address:
        http://cjrc.osu.edu/researchprojects/hvd/AHsup.html


Essays on Historical Subjects

        “Homicide and the Opioid Epidemic: A Longitudinal Analysis,” co-authored with
        Richard Rosenfeld and Joel Wallman. Homicide Studies (forthcoming).
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     “The Opioid Epidemic and Homicide in the United States,” co-authored with
     Richard Rosenfeld and Joel Wallman. Journal of Research in Crime and
     Delinquency 58: 1 (2021): 1-46.

     “Homicide-Suicide by Women against Intimate Partners,” co-authored with
     Wendy C. Regoeczi, in Todd Shackelford, ed., Sage Handbook of Domestic
     Violence (Newbury Park: Sage Publications, 2020), v 1, 318-329.

     “Why Guns Are and Aren’t the Problem: The Relationship between Guns and
     Homicide in American History,” in Jennifer Tucker, Barton C. Hacker, and
     Margaret Vining, eds., A Right to Bear Arms? The Contested Role of History in
     Contemporary Debates on the Second Amendment (Washington, D.C.:
     Smithsonian Institution Scholarly Press, 2019), 113-133.

     “Does Better Angels of Our Nature Hold Up as History?” Historical Reflections
     44: 1 (2018): 91-103.

     “Criminologists and Historians of Crime: A Partnership Well Worth Pursuing.”
     Crime, History, and Societies 21: 2 (2017): 387-400.

     “How Exceptional Is the History of Violence and Criminal Justice in the United
     States? Variation across Time and Space as the Keys to Understanding Homicide
     and Punitiveness,” in Kevin Reitz, ed. American Exceptionalism in Crime and
     Punishment (Oxford University Press, 2017).

     "Getting Things Wrong Really Does Help, as Long as You Keep Trying to Get
     Things Right: Developing Theories About Why Homicide Rates Rise and Fall" in
     Michael D. Maltz and Stephen Rice, eds., Envisioning Criminology: Researchers
     on Research as a Process of Discovery (Springer Verlag, 2015), 143-150.

     “Roundtable on History Meets Biology: Introduction,” American Historical
     Review (2014) 119: 1492-1499. Principal author and organizer of the Roundtable.

     “Emotions, Facultative Adaptation, and the History of Homicide,” American
     Historical Review (2014) 119: 1529-1546.

      “Gender, Sex, and Intimate-Partner Violence in Historical Perspective,” in
     Rosemary Gartner and William McCarthy, eds., Oxford Handbook on Gender,
     Sex, and Crime (Oxford University Press, 2014), 175-190.

     “The Importance of Testing Criminological Theories in Historical Context: The
     Civilization Thesis versus the Nation-Building Hypothesis,” Criminology online:
     Presidential Session Papers from the American Society of Criminology (2014)

     “Making Sense of Violence? Reflections on the History of Interpersonal Violence
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     in Europe,” Crime, History, and Societies (2013) 17: 5-26. Richard McMahon,
     Joachim Eibach, and Randolph Roth. Introduction to a special issue solicited by
     the Board of Editors of Crime, History, and Societies, co-edited with Joachim
     Eibach, University of Berne, and Richard McMahon, University of Liverpool.

     “Scientific History and Experimental History,” Journal of Interdisciplinary
     History (2013) 43: 443-458.

     “Measuring Feelings and Beliefs that May Facilitate (or Deter) Homicide,”
     Homicide Studies (2012) 16: 196-217.

     “Yes We Can: Working Together toward a History of Homicide That Is
     Empirically, Mathematically, and Theoretically Sound,” Crime, History, and
     Societies (2011) 15: 131-145.

     “Biology and the Deep History of Homicide,” British Journal of Criminology
     (2011) 51: 535-555.

     “Homicide Rates in the Old West.” Western Historical Quarterly. Randolph Roth,
     Michael D. Maltz, and Douglas L. Eckberg (2011) 42: 173-195.

     “American Homicide: Theory, Methods, Body Counts.” Historical Methods
     (2010) 43: 185-192.

     “The Historical Violence Database: A Collaborative Research Project on the
     History of Violent Crime and Violent Death.” Historical Methods. Randolph
     Roth, Cornelia Hughes Dayton, Kenneth Wheeler, James Watkinson, Robb
     Haberman, James M. Denham, and Douglas L. Eckberg (2008) 41: 81-98.

     “Homicide in Florida, 1821-1861: A Quantitative Analysis.” Florida Historical
     Quarterly. Randolph Roth and James M. Denham (2007) 86: 216-239.

     “Guns, Murder, and Probability: How Can We Decide Which Figures to Trust?”
     Reviews in American History (2007) 35: 165-75.

     “Twin Evils? Slavery and Homicide in Early America,” in Steven Mintz and
     John Stauffer, eds., The Problem of Evil: Slavery, Freedom, and the Ambiguities
     of American Reform. Amherst: University of Massachusetts Press (2007), 74-88.

     "Rural Communities," in Feintuch, Burt and David H. Watters, eds.,
     Encyclopedia of New England. Yale University Press (2005), 53-55.

     “Counting Guns: What Social Science Historians Know and Could Learn about
     Gun Ownership, Gun Culture, and Gun Violence in the United States,” Social
     Science History (2002) 26: 699-708.
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      “Guns, Gun Culture, and Homicide: The Relationship between Firearms, the Uses
      of Firearms, and Interpersonal Violence in Early America,” William and Mary
      Quarterly (2002) 59: 223-240.

      "Homicide in Early Modern England, 1549-1800: The Need for a Quantitative
      Synthesis." Crime, History, and Societies (2001) 5: 33-67.

      "Child Murder in New England," Social Science History (2001) 25: 101-147.

      "Spousal Murder in Northern New England, 1791-1865," in Christine Daniels,
      ed., Over the Threshold: Intimate Violence in Early America, 1640-1865.
      Routledge Press (1999), 65-93.

      "`Blood Calls for Vengeance!': The History of Capital Punishment in Vermont,"
      in Michael Sherman, ed., Vermont State Government. Vermont Secretary of State
      and Vermont Historical Society (1997), 10-25.

      "The Generation Conflict Reconsidered," in American Vistas, ed. Leonard
      Dinnerstein & Kenneth T. Jackson. Oxford University Press (7th ed. 1995), 116-
      127.

      "The Other Masonic Outrage: The Death and Transfiguration of Joseph
      Burnham," Journal of the Early Republic (1994) 14: 35-69.

      "The First Radical Abolitionists: The Reverend James Milligan and the Reformed
      Presbyterians of Vermont," New England Quarterly (1982) 55: 540-563.


Essays on Methods and Theory

      “’To Err Is Human’: Uniformly Reporting Medical Errors and Near Misses, a
      Naïve, Costly, and Misdirected Goal.” Journal of the American College of
      Surgeons. Charles H. Andrus, Eduardo G. Villasenor, John B. Kettelle, Randolph
      Roth, Allison M. Sweeney, and Nathaniel M. Matolo (2003) 196: 911-918.

      "Is There a Democratic Alternative to Republicanism? The Rhetoric and Politics
      of Synthesis in American History," in Jeffrey Cox and Sheldon Stromquist, eds.,
      Contesting the Master Narrative: Essays in Social History. University of Iowa
      Press (1998), 210-256.

      "Did Class Matter in American Politics? The Importance of Exploratory Data
      Analysis," Historical Methods (1998) 31: 5-25.

      "Is History a Process? Revitalization Theory, Nonlinearity, and the Central
 Case:
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      Metaphor of Social Science History," Social Science History (1992) 16: 197-243.

      "Ecological Regression and the Analysis of Voter Behavior," Historical Methods
      (1986) 19: 103-117.


Public History Essays

      "Can Faith Change the World? Religion and Society in Vermont's Age of
      Reform," Vermont History (2001) 69: 7-18.

      "Wayward Youths: Raising Adolescents in Vermont, 1777-1815," Vermont
      History (1991) 59: 85-96.

      "Why Are We Still Vermonters? Vermont's Identity Crisis and the Founding of
      the Vermont Historical Society," Vermont History (1991) 59: 197-211.


Works in Progress

      Child Murder in America. An interregional study of murders of and by children
      from colonial times to the present (in manuscript through early 20th century)

      "How Scientific Is Environmentalist History? The Rhetoric and Politics of
      Speaking for Nature" (essay in manuscript)


Editorial Boards

      2014-2017, American Historical Review
      2012-2016, 1995-2005, Historical Methods
      2011- , Homicide Studies
      2004- , Crime, History, and Societies


Invited Lectures

      “Trust, Legitimacy, and the Recent Rise in Homicide in the United States,”
      Council on Criminal Justice, Washington, D.C., October 19, 2022.

      “The History of Police Involved Homicides in the United States,” Mary
      Immaculate College & the University of Limerick, Ireland, October 26, 2021.

      “Firearms and Homicide in the United States: A History,” British Crime
      Historians Symposium, Leeds University, Great Britain, Scheduled for September
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     2-3, 2021.

     “The History of Cross-National Homicide Rates: What We Can Learn from the
     Available Historical Data, and Why We Have to Worry about Learning the
     Wrong Lessons,” Bielefeld University, Germany, scheduled for April 29, 2020.
     Postponed.

     “Inequality,” Ashland University, October 16, 2019.

     “The History of Gun Violence in America,” Shasta Seminar, Wesleyan
     University, October 28, 2017.

     “Why Guns Are and Aren’t the Problem,” Ashland University Center for the
     Study of Nonviolence, Ashland University, April 1, 2017.

     “Firearms and Violence in American History,” Aspen Institute, September 15,
     2016, Washington, D.C.

     “Homicide in the United States: The Long History and Recent Trends,” The
     Donald and Margaret Sherman Violence Prevention Lecture, Jerry Lee Center of
     Criminology, University of Pennsylvania, April 10, 2015.

     “The History of Child Murder,” Andrew Young School of Public Policy, Georgia
     State University, January 28, 2014.

     “The Causes of Homicide,” National Institute of Justice, December 2, 2013.

     “Biology, History, and the Causes of Homicide,” School of Law, University of
     Buffalo, October 10, 2013.

     “Bio-Historical Co-Evolution and the Biology of Social Behavior: The Prospects
     for a New Institute on History and the Sciences,” Max Planck Institutes, Berlin,
     Germany, June 27, 2013.

     “Deterrence, Judicial Tolerance, and the Homicide Problem in America,” Robina
     Institute of Criminal Law and Justice, University of Minnesota, April 26, 2013

     “Child Murder in America: A History,” Population Studies Center and
     Department of History, University of Michigan, April 8, 2013

     “America’s Homicide Problem,” Northwestern University School of Law,
     November 16, 2012

     “American Homicide,” Aspinall Lecture, Colorado Mesa University, April 5,
     2012
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     “Quantitative Analysis of the History of Crime and Violence: Achievements and
     Prospects,” Keynote Address, Conference on “Making Sense of Violence,”
     University of Bern, September 8, 2011

     “Can We Learn to Play Well with Others? Enlisting the Humanities, the Sciences,
     and the Social Sciences in the Study of Violence.” Conference on Emerging
     Disciplines, Humanities Research Center, Rice University, February 25, 2011

     “American Homicide,” Washington Forum, Ohio University, Athens, Ohio, May
     25, 2010

     “Can We Learn to Play Well with Others? Enlisting the Humanities, the Sciences,
     and the Social Sciences in the Study of Violence.” Presidential Plenary Address,
     Southwestern Social Science Association, Houston, Texas, April 1, 2010

     “Homicide on Florida’s Antebellum Frontier,” Robert and Rose Stahl Criminal
     Justice Lecture, Lawton M. Chiles Center for Florida History, Florida Southern
     College, Lakeland, Florida, March 25, 2010

     “Homicide in the American Backcountry, 1717-1850,” Keynote Address at the
     “From Borderland to Backcountry Conference: Frontier Communities in
     Comparative Perspective” at the University of Dundee, Scotland, July 7, 2009

     “Research Strategies for Studying the History of Crime and Violence,” Seminar
     on Crime and Criminal Justice, Northwestern University School of Law, Nov. 15,
     2007

      “American Homicide: Its History,” Ohio State University at Newark, Nov. 6,
     2007

     “American Homicide: A Political Hypothesis” and “The Case for Social Science
     History,” Northern Illinois University, April 4-5, 2007

     “What Historians Can and Might Learn from Legal Sources.” Seminar in Early
     American History, Northwestern University, Jan. 31, 2007

     “Why Is America a Homicidal Nation? A Political Hypothesis,” lecture in the
     Historical Approaches in the Social Sciences series, State University of New York
     at Binghamton, Oct. 12, 2006

     “The History of American Homicide,” Winter College, Ohio State University,
     Sarasota, Florida, February 24, 2006

     “The Role of Small Arms in American History,” Small Arms Working Group,
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     Harry Frank Guggenheim Foundation, Columbia University, June 2005

     “Why is the United States So Homicidal Compared to Other Western
     Democracies? A Political and Psychological Hypothesis,” Center for Historical
     Research and Documentation on War and Contemporary Societies, Belgian
     Ministry of Scientific Research, Brussels, Belgium, December 2004

     “The History of American Homicide,” Center for Law, Policy, and Social
     Science, Moritz College of Law, Ohio State University, November 2004

     “Peaceable Kingdoms? Harmony and Hostility in the Early American Family,”
     Plenary Session, Society of Historians of the Early American Republic, July 22,
     2004

     “American Homicide,” Department of History, Miami University, March, 2004

     “Slavery, Freedom, and the History of African-American Homicide.” School of
     Law and Department of History, University of Chicago, January, 2003

     “American Homicide,” School of Law, Stanford University, February, 2003

     Workshop of the Study of the History of Homicide, Department of History,
     Stanford University, February, 2003

     “American Homicide,” Social Science Faculty Seminar, Stanford University,
     February, 2003

     “American Homicide,” School of Law, Northwestern University, September,
     2003

     “American Homicide,” School of Law, University of Chicago, November, 2002

     “Twin Evils?: The Relationship between Slavery and Homicide,” Department of
     History, Yale University, May, 2002

     “The Puzzle of American Homicide,” School of Law, Northwestern University,
     November, 2001

     "Why Northern New Englanders Seldom Commit Murder: An Interregional
     History of Homicide in America," and "The Historical Database Project on Crime
     and Violence in America," two lectures presented at the Charles Warren Center,
     Harvard University. May, 2000

     "Understanding Homicide in America: An Interregional Approach," presentation
     to the Early American History Seminar, University of Pennsylvania, October,
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      1999

      "Can Faith Change the World?" Keynote address, Conference on Reform in
      Antebellum Vermont, Vermont Historical Society, September, 1999

      "Why Northern New Englanders Seldom Commit Murder," presentation to the
      Center for Research on Vermont, the University of Vermont, and the Vermont
      Council on the Humanities. The presentation was televised in Vermont. It also
      made the evening news in Burlington and an AP wire story on my presentation
      was printed widely in newspapers in New Hampshire and Vermont, April, 1999


Papers Delivered at Professional Meetings (recent)

      “The Social and Geographical Context of Child Homicides in the United States,
      1989-2015,” Homicide Research Working Group, June 2, 2022, Excelsior
      Springs, Missouri, and Social Science History Association, November 17, 2022,
      Chicago.

      “The Difficulty of Counting the Number of Children Killed in Homicides in the
      United States, 1959-Present.” Social Science History Association, November 23,
      2019, Chicago.

      “Police Involved Homicides in Ohio, 1959-1988,” American Society of
      Criminology, November 13, 2019, San Francisco, with Wendy Regoczi and Rania
      Issa.

      “Can Criminologists and Historians of Crime Work Together More Fruitfully in
      the Future?” Social Science History Association, November 3, 2017, Montreal.

      “Comparing Data Sources on the Police Use of Lethal Force,” American Society
      of Criminology, November 15, 2017, Philadelphia, with Wendy Regoczi and
      Rania Issa.

       “The History of Mass Murder,” American Historical Association, January 6,
      2017, Denver.

      “The Historians’ Role in Criminal Justice Research,” American Society of
      Criminology, November 16, 2016, New Orleans

      “Police and Security Guard Involved Homicides in Ohio, 1959-1988,” American
      Society of Criminology, November 18, 2016, New Orleans

      “Why History and Biology Matter to One Another: The Epigenetics of Social
      Behavior,” American Historical Association, New York City, January 4, 2015
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     “The National Homicide Data Improvement Project, 1959-Present: Why Research
     in Multiple Sources Changes Dramatically Our Understanding of the Incidence
     and Character of Homicides in the United States,” American Society of
     Criminology, San Francisco, November 19, 2014

     "The Relationship between Guns, Homicides, and Suicide in American History,"
     Organization of American Historians, Atlanta, April 4, 2014

     “Situating Crime in Macro-Social and Historical Context,” Presidential Panel,
     American Society of Criminology, Atlanta, November 22, 2013

     “Has Violence Declined since the Middle Ages?” Presidential Panel, American
     Society of Criminology, Chicago, November 15, 2012

     “The Sudden Appearance of Sexual Serial Killers in Late-Nineteenth Century
     America,” Organization of American Historians, Houston, March 20, 2011

     “The Biology of Social Behavior” at the annual conference of the Society of
     Historians of the Early American Republic, Philadelphia, July 15, 2011

     “Measuring Feelings and Beliefs that May Facilitate (or Deter) Homicide,” at the
     American Society of Criminology meeting in Washington, D.C., November 16,
     2011

     “Measuring Feelings and Beliefs that May Facilitate (or Deter) Homicide,” at the
     Social Science History Association meeting in Boston, November 20, 2011

     “Author Meets Critics” session on American Homicide at the European Social
     Science History conference in Ghent, Belgium, April 13, 2010. Discussants:
     Manuel Eisner, Peter King, and Pieter Spierenburg

     “The Relationship between Guns and Homicide in American History,” American
     Society of Criminology conference in San Francisco, November 18, 2010

     “Author Meets Critics” session on American Homicide at the Social Science
     History Association conference in Chicago, November 20, 2010. Discussants:
     Richard McMahon, Douglas Eckberg, Donald Fyson, and John Carter Wood

     “Does Honor Hold the Key to Understanding Violence in the Early
     Republic,”Society for Historians of the Early American Republic, Springfield,
     Illinois, July 2009.

     “The Difficulty of Reconciling the Homicide Counts in the National Center for
     Health Statistics Mortality Data and the FBI Supplementary Homicide Reports,”
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      Social Science History Association, Long Beach, California, November, 2009

      “Homicide in American History,” Ohio Academy of History, Dayton, Ohio, April
      12, 2008

      “Quantification and Social Theory in the Study of Crime and Violence,” in the
      Presidential Panel on “History in the Social Science History of Association:
      Disciplinary Developments,” Social Science History Association, Chicago, Nov.
      15-18, 2007

      “Are Modern and Early Modern Homicide Rates Comparable? The Impact of
      Non-Emergency Medicine,” Social Science History Association, Chicago, Nov.
      15-18, 2007

      “How Homicidal Was Antebellum Florida?” Gulf South History and Humanities
      Conference, Pensacola, Florida, Oct. 6, 2006

      "Probability and Homicide Rates: Why We Can Be Certain the Nineteenth-
      Century West Was Violent." Social Science History Association convention in
      Minneapolis, Nov. 2-5, 2006

      “The Historical Violence Database: A Collaborative Research Project on the
      History of Violent Crime and Violent Death.” Social Science History Association
      convention in Minneapolis, Nov. 2-5, 2006

      “Big Social Science: What Could We Learn about Violent Crime If We Had
      Enough Money to Study It Properly? Possibilities for Collaborative Research
      Projects,” Social Science History Association, Portland, Oregon, November 3-6,
      2005


Reviews

      T. Cole Jones, Captives of Liberty: Prisoners of War and the Politics of
      Vengeance in the American Revolution (American Historical Review, 2021).

      Chris Murphy, The Violence Inside Us: A Brief History of an Ongoing American
      Tragedy (Criminal Law and Criminal Justice Books, 2020).

      Jeffrey S. Adler, Murder in New Orleans: The Creation of Jim Crow Policing.
      (Punishment and Society, 2020).

      Heidi J. Osselaer, Arizona’s Deadliest Gunfight: Draft Resistance and Tragedy at
      the Power Cabin, 1918. (Western Historical Quarterly, 2020).
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Randolph Roth                                                                 Page 15

     Iain McGilchrist, The Master and His Emissary: The Divided Brain and the
     Making of the Western World. (Journal of Interdisciplinary History, 2011).

     Heather Cox Richardson, Wounded Knee: Party Politics and the Road to an
     American Massacre. (Journal of the Civil War Era, 2011).

     Bill Neal, Sex, Murder, and the Unwritten Law: Gender and Judicial Mayhem,
     Texas Style. (New Mexico Historical Quarterly, 2010).

     Gordon Morris Bakken and Brenda Farrington, Women Who Kill Men: California
     Courts, Gender, and the Press. (Pacific Northwest Quarterly, 2010).

     Jack D. Marietta and Gail S. Rowe, Troubled Experiment: Crime, Justice, and
     Society in Pennsylvania, 1682-1800. (William and Mary Quarterly, 2010).

     Mark R. Pogrebin, Paul B. Stretesky, and N. Prabha Unnithan, Guns, Violence,
     and Criminal Behavior: The Offender’s Perspective. (Criminal Justice Review,
     2010)

     Nicole Rafter, The Criminal Brain: Understanding Biological Theories of Crime.
     (Journal of Interdisciplinary History, 2009.)

     Laura Browder, Her Best Shot: Women and Guns in America (Winterthur
     Portfolio 2007).

     Paul M. Searls, Two Vermonts: Geography and Identity, 1865-1910 (Vermont
     History, 2006).

     Anu Koskivirta, The Enemy Within: Homicide and Control in Eastern Finland in
     the Final Years of Swedish Rule, 1748-1808 (English Historical Review 2005).

     Irene Quenzler Brown and Richard D. Brown, The Hanging of Ephraim Wheeler:
     A Story of Rape, Incest, and Justice in Early American (H-SHEAR, 2003).

     T. D. S. Bassett, The Gods of the Hills (New England Quarterly, 2001).

     Karen Halttunen, Murder Most Foul: The Killer and the American Gothic
     Imagination (H-SHEAR, 1999).

     Charles E. Clark, The Meetinghouse Disaster (Journal of American History,
     1999).

     Nicholas N. Kittrie and Eldon D. Wedlock, Jr., The Tree of Liberty: A
     Documentary History of Rebellion and Political Crime in America (Journal of the
     Early Republic, 1998).
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     Robert E. Shalhope, Bennington and the Green Mountain Boys: The Emergence
     of Liberal Democracy in Vermont, 1790-1850 (Reviews in American History,
     1997).

     Daniel Doan, Indian Stream Republic: Settling a New England Frontier (Journal
     of the Early Republic, 1997).

     Thomas H. Jeavons, When the Bottom Line is Faithfulness: Management of
     Christian Service Organizations (American Historical Review, 1996).

     N. Prabha Unnithan, The Currents of Lethal Violence: an Integrated Model of
     Suicide & Homicide (Justice Quarterly, 1995).

     Edward Jarvis, Traditions and Reminiscences of Concord, Massachusetts,
     1779-1878 (Journal of the Early Republic, 1995).

     Charles Hoffman and Tess Hoffman, Brotherly Love: Murder and the Politics of
     Prejudice in Nineteenth-Century Rhode Island (American Historical Review,
     1994).

     Richard Bushman, The Refinement of America: Persons, Houses, Cities
     (Pennsylvania History, 1994).

     Michael Bellisiles, Revolutionary Outlaws: Ethan Allen and Vermont's Struggle
     for Independence (William and Mary Quarterly, 1994).

     David G. Hackett, The Rude Hand of Innovation: Religion and Social Order in
     Albany, New York, 1652-1836 (American Historical Review, 1992).

     Nat Brandt, The Congressman Who Got Away With Murder (New York History,
     1992).

     Tamara Plakins Thornton, Cultivating Gentlemen: The Meaning of Country Life
     Among the Boston Elite, 1785-1860 (American Historical Review, 1991).

     George M. Thomas, Revivalism and Cultural Change: Christianity, Nation
     Building, and the Market in the Nineteenth-Century United States (Pennsylvania
     History, 1991).

     Richard D. Brown, Knowledge is Power: The Diffusion of Information in Early
     America, 1700-1865 (The History of Education Quarterly, 1990).

     William J. Gilmore, Reading Becomes a Necessity of Life: Material and Cultural
     Life in Rural New England, 1780-1865 (Vermont History, 1990).
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       Ruth Alden Doan, The Miller Heresy, Millennialism, and American Culture
       (Journal of the Early Republic, 1988).

       William Lynwood Montell, Killings: Folk Justice in the Upper South
       (International Journal of Oral History, 1987).

       David R. Kasserman, Fall River Outrage: Life, Murder, and Justice in Early
       Industrial New England (Journal of American History, 1987).

       Robert J. Wilson III, The Benevolent Diety: Ebenezer Gay and the Rise of
       Rational Religion in New England (New England Quarterly, 1985).


Languages

       German
       Spanish
       French (reading)


Quantitative Skills

       Probability and Statistics (including econometric techniques of political analysis,
       exploratory data analysis, and log-linear and logit analysis)
       Calculus and Analytical Geometry
       Linear Algebra and Nonlinear Dynamics
       Differential and Series Equations
       Abstract Algebra
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                                     Teaching

      Graduate

      History 7000         Topics in American History to 1877
      History 7003         Readings in the Early Republic and Antebellum America
      History 7650         Studies in World History
      History 7900         Colloquium in the Philosophy of History, Historiography,
                           and the Historian's Skills
      History 8000         Seminar in Early American History

      Undergraduate

      History 2001         American Civilization, 1607-1877 (and Honors)
      History 2015         History of American Criminal Justice
      History 2650         World History since 1914
      History 2800         Introduction to Historical
      History 3164         World History since 1914: Readings
      History 3193         Individual Studies / Research Internships in History
      History 3700         American Environmental History
      History 4650         History of Violence: Readings in World / Global /
                           Transnational History
      History 4675         Global History of Violence: Research Seminar
      History 5900         Introduction to Quantitative Methods in History

      History 598          Religious and Reform Movements (Senior Colloquium)
      History 598          Research Seminar on Violent Crime and Death in the U.S.
      History 557.02       Jeffersonian and Jacksonian Democracy, 1800-1840
                           Thought
      History 282          American Religious History


Publications on Teaching

      Founder and contributor to Retrieving the American Past, Department of History
      and Pearson Publishing, a flexible, problem-oriented publication for teaching
      classes in American History. Author of modules on “Violent Crime in Early
      America,” “Marriage in Colonial America,” and “Growing Up in Nineteenth-
      Century America.”

Ph.D Students Supervised

      Daniel Vandersommers, “Laboratories, Lyceums, and Lords: Zoos, Zoology, and
      the Transformation of Humanism in Nineteenth-Century America,” August 2014.
      Recipient of a Presidential Fellowship, 2013-2014, the most prestigious
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      University fellowship for senior graduate students. Assistant Professor of History,
      University of Dayton.

      Michael Alarid, ““Caudillo Justice: Intercultural Conflict and Social Change in
      Santa Fe, New Mexico, 1837-1853,” June 2012. Assistant Professor of History,
      University of Nevada at Las Vegas.

      Matthew Foulds, “Enemies of the State: Methodists, Secession and Civil War in
      Western Virginia, 1844-1865,” December 2011. Former Assistant Professor of
      History, Shepherd University

      Jeanette Davis Mantilla, “Hush, Hush Miss Charlotte: Twenty-Five Years of Civil
      Rights Struggles in San Francisco, 1850-1875,” April 2000. Administrator in
      Charter School Division of the Department of Education, State of Ohio

      Ken Wheeler, “The Antebellum College in the Old Northwest: Higher Education
      and the Defining of the Midwest,” January 1999. Professor of History, Reinhardt
      College. Author of Cultivating Regionalism: Higher Education and the Making of
      the American Midwest (Northern Illinois University Press, 2011)

      Ross Bagby, “The Randolph Slave Saga.” July 1998. Librarian and independent
      scholar

      Marianne Holdzkom, “Parody and Pastiche Images of the American Revolution in
      Popular Culture, 1765-1820,” May 1995. Professor of Social and International
      Studies, Southern Polytechnic State University

      David Thomas, “Religion in the Far West: Oregon’s Willamette Valley, 1830-
      1850,” November 1993. Professor of History, Union College


Recent Senior Honors Thesis Students Supervised (recently)

      Maggie Seikel, “The Great Depression in More Ways than One: Why Do
      Americans Commit Suicide More Often during Economic Crises?” (Anticipated
      2021).

      Margo Hertzer, “Police Involved Homicides in Ohio, 1959-1988.” (Anticipated
      2021).

      Laura Janosik, “Homicides Involving Women in Ohio, 1959-1988.” (2020).
      Prospective applicant to graduate school in history.
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     Ben St. Angelo, “How Labor Disputes Led to Violence: Personalities,
     Paternalism, and Power at Republic Steel in Youngstown, Ohio: 1937.” (2017).
     Ph.D. student in History at Ohio State University.

     Sarah Paxton, “The Bloody Ould Sixth Ward: Crime and Society in Five Points,
     New York” (2012). Ph.D. candidate in criminal justice history J.D. candidate at
     the Moritz School of Law at Ohio State University (twin degree program).

     Kristen Gaston, “Restoration of the Cuyahoga River” (2012). Ph.D. candidate in
     Environmental History at the University of Cincinnati.

     Alexandra Finley, “Founding Chestnut Ridge: The Origins of Central West
     Virginia’s Multiracial Community” (2010). Ph.D. candidate in early American
     history at the College of William and Mary. Recipient of the first Annual Prize at
     Ohio State for the outstanding senior honors thesis in the Department of History.
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                                        Service


Service in Professional Organizations

       2018-present, Allen Sharlin Book Prize Committee, Social Science History
       Association

       2013-present, Grant Review Board, Harry Frank Guggenheim Foundation

       2008-present, Editorial Board, Crime, History, and Societies.

       2011-present, Editorial Board, Homicide Studies.

       2014-2017, Board of Editors, American Historical Review

       2014-15, 2016-17, Program Committee, American Society of Criminology

       2014-2017, Research Awards Committee, Ohio Academy of History.

       2011-2014, Chair, Distinguish Teaching Award Committee, Ohio Academy of
       History

       2010-2011, Allan Sharlin Memorial Prize Committee, Social Science History
       Association

       2010- ,Ohio Violent Death Reporting System Advisory Board

       2010-2013, Advisory Board, Society for Historians of the Early American
       Republic

       2008- , Society for the Scientific Detection of Crime, Columbus, Ohio

       2009-2011, Youth Violence Prevention Advisory Board (Columbus)

       2003, Nominating Committee, Social Science History Association

      2002- , Co-founder and co-director, Historical Violence Database

       1995-1997, ABC-Clio America: History and Life Award Committee,
       Organization of American Historians

      1987-1993, Chair, Methods and Theory Network, Social Science History
      Association
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       1987, Program Committee, Social Science History Association


Reviews of Manuscripts

       American Historical Review
       Journal of American History
       William and Mary Quarterly
       Journal of the Early Republic
       Social Science History
       Journal of Interdisciplinary History
       Historical Methods
       Journal of Women’s History
       Journal of the Family
       Crime, History, and Societies
       European Journal of Criminology
       American Journal of Sociology
       Sociological Quarterly
       Criminology
       Criminal Justice Review
       Journal of Criminal Law and Criminology
       Law and Social Inquiry
       Homicide Studies
       International Criminal Justice Review
       International Journal of Law, Crime, and Justice
       Law and Society Review
       City and Community
       Eras Review
       Western Historical Quarterly
       Canadian Journal of Sociology
       Journal of the Gilded Age


Memberships in Professional Organizations (current)

       American Historical Association
       Organization of American Historians
       Social Science History Association
       European Social Science History Association
       American Society of Criminology
       Homicide Studies Working Group
       American Association for the Advancement of Science


Service at Ohio State University
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     Department

     2006-2010, 2018-present, Undergraduate Placement / Enhancement Officer

     1994-2015, 2018-present, Undergraduate Teaching Committee

     2017-2018, Chair of Grievance Committee

     2015-2017, 1991-1993, Chair of Graduate Studies

     2012-2013, Chair of Undergraduate Studies

     2011-2013, Advisory Committee and Salary Committee

     1987-1991, History Department Promotion & Tenure Committee


     College of Humanities

     2007-2009, Curriculum Committee, College of Humanities

     2002-2005, College of Humanities Computing Advisory Committee

     1996-1997, College of Humanities Committee on the Center for the Study and
     Teaching of Writing, 1996-7; Affiliated Faculty Member, 2000-


     College of Arts and Sciences

     2006-2009, Alternate, Arts and Sciences Faculty Senate

     2006- , Advisory Board, Criminal Justice Research Center, Department of
     Criminology and Sociology

     2004- , Fellow, Center for Law, Policy, and Social Science, Moritz College of
     Law

     2000- , Fellow, Criminal Justice Research Center, College of Social and Behavior
     Sciences


     Graduate School

     2018- , Graduate Awards Review Committee
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       Ohio Department of Higher Education

       2020- , Transfer Assurance Guide Review Panel, Ohio Articulation and Transfer
       Network




Service at Grinnell College

       Chairman, African-American Studies Committee

       Rosenfield Program on Public Affairs Committee

       Faculty-Trustee Committee


Community Service

       2001-2008, Chair, Community Services Advisory Commission, City of Dublin:
       advises City Council on all matters concerning utilities, policing, transportation,
       parks, recreation, waste management, etc.,

       2004-present, Green Team, environmental projects volunteer organization, City of
       Dublin

       2003-12, Committee to create an Indian burial mound and pioneer historic park at
       the Wright-Holder earthworks, City of Dublin

       1997-present, Assistant Scoutmaster, Troop 299, Dublin / Citizenship Merit
       Badge Counselor / Eagle Scout Association / Philmont Staff Association /
       Distinguished Service Award, 2014 / Meritorious Service Award, 2006 / Bridge
       Builder Award, 2002

       1997-2003, Good Schools Committee, Dublin City Schools, campaign committee
       for school bond and levy issues

       1995-2005, President, Citizens for Dublin, city-wide association of civic
       association officers and city commission members

       1995-1998, Vice-Chair, Transportation Task Force, City of Dublin

       1995-1997, Community Plan Steering Committee, City of Dublin
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      1988-present, President / Vice President / Trustee, East Dublin Civic Association

      1987-present, Nature Conservancy / Volunteer Service Awards / Volunteer Crew
      Leader


Outreach / Media Appearances

      Testimony to Oversight Committee of the Ohio Senate, December 22, 2020, on
      so-called “Stand Your Ground” laws.

      B.R.E.A.D. (an interfaith organization dedicated to Building Responsibility
      Equality and Dignity), January 13, 2020, on gun violence in central Ohio.

      Testimony to Federalism Committee of the Ohio House of Representatives, June
      12, 2019, on concealed carry laws.

      Worthington Senior Citizen Center, Inequality in the U.S., April 15, 2019

      Canfield Residence Hall, Discussion of History of Criminal Enterprise in the U.S.
      with Undergraduate Students, April 10, 2019

      “Gun Ownership in Decline,” Columbus Dispatch, December 11, 2017.

      “How the Erosion of Trust Leads to Murders and Mass Shootings,” invited
      editorial, Washington Post, October 6, 2017

      “Mass Murder in American History,” CSpan-3, April 2, 2017

      All Sides with Ann Fisher, WOSU Radio, “Mass Murder and Terrorism,”
      December 9, 2015 and June 13, 2106; “The Recent Rise in Homicide in the
      United States,” March 14, 2017.

      Consultant for the TLC Channel, “Who Do You Think You Are Anyway?” 2013-
      2014

      Appeared on the CSPAN Book Channel on September 1, 2012 (http://www.c-
      span.org/LocalContent/Columbus/)

      Appeared on the History Channel, “Seven Deadly Sins,” January 3, 2009 (A&E
      Home Video)

      “It’s No Mystery: Why Homicide Declined in American Cities during the First
      Six Months of 2009,” History News Network, November 22, 2009
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     (http://cjrc.osu.edu/researchprojects/hvd/AHSV/It's%20No%20Mystery%2011-
     22-2009%205-2010.pdf and
     http://cjrc.osu.edu/researchprojects/hvd/AHSV/It's%20No%20Mystery%20Furthe
     r%20Thoughts%201-1-2010%205-2010.pdf)

     Radley Balko, editor of reason.com, named American Homicide the best book of
     2009 (http://reason.com/archives/2009/12/30/the-year-in-books)

     “American Homicide,” address to Columbus Rotary Club, October 24, 2011

     Radio interviews: Execution Watch with Ray Hill on KPFT Houston, Texas, and
     WPFW Washington, D.C., Nov. 10, 2009; Focus 580 with David Inge, WILL,
     Champaign-Urbana, Illinois, December 7, 2009; RadioWest with Doug Fabrizio,
     KUER and XM Public Radio Channel 133, Salt Lake City, Utah, Dec. 17, 2009;
     The Mark Johnson Show of the Radio Vermont Group, WDEV, Waterbury,
     Vermont, Dec. 30, 2009; The Current with Anna Maria Tremonti on the CBC,
     Toronto, Canada, January 6, 2010; The Marc Steiner Show on WEAA in
     Baltimore, January 26, 2010; by ABC Radio, Sydney, Australia, interviewed on
     March 3, 2010 for broadcast the week of March 8, 2010; by the Extension with
     Dr. Milt Rosenberg on WGN Radio 720 AM Chicago, broadcast December 9,
     2010; the Gil Gross Show, KKSF Radio 910 AM, San Francisco, July 27, 2012;
     and The Marc Steiner Show on WEAA in Baltimore, December 17, 2012;
     American Homicide was the subject of an editorial by op-ed writer Gregory
     Rodriguez in the Los Angeles Times, Sunday, April 12, 2010
     (http://www.latimes.com/news/opinion/commentary/la-oe-rodriguez12-
     2010apr12,0,3217212.column)

     American Homicide was the subject of an editorial by Raina Kelley in Newsweek,
     Nov. 5, 2009 (http://www.newsweek.com/id/221271).
     American Homicide was cited favorably in the New York Times Sunday Magazine
     in an article by Jeffrey Rosen, "Prisoners of Parole," January 10, 2010; and in the
     Washington Post, Nov. 22, 2009

     Newspaper articles: quoted and/or reviewed in the Washington Post, the
     Washington Times, the National Review, the Economist, the Wall Street Journal,
     the Boston Globe, the Chicago Tribune, the San Francisco Chronicle, the Los
     Angeles Times, the New York Times, New York Newsday, the Chronicle of Higher
     Education, and the Columbus Dispatch, which ran a front-page article on Roth’s
     work in a Sunday edition
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